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                            PX1(1)

     Declaration of Amber Howe
      (PX1-1 through PX1-92)
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                                DECLARATION OF AMBER HOWE
                                  PURSUANT TO 28 U.S.C. § 1746

            1.      My name is Amber Howe. I am a United States citizen over the age of 18. I

     am employed by the Federal Trade Commission (“FTC”) as an Honors Paralegal in the

     Bureau of Consumer Protection. I have held that position since 2014. My business address

     is 600 Pennsylvania Avenue, N.W., CC-10528, Washington, DC 20580. I have personal

     knowledge of the facts stated herein. If called to testify I could and would testify

     competently to the facts set forth below.

            2.      As part of my job, I perform various research and investigative tasks. I was

     assigned to the FTC’s investigation of Roca Labs, Inc., Roca Labs Nutraceutical USA, Inc.,

     Don Juravin, and George Whiting. As part of my work on this investigation, I visited and

     captured, on multiple dates in 2014 and 2015, various web pages that advertised, sold, or

     discussed Roca Labs products, including RocaLabs.com, Mini-gastric-bypass.me,

     gastricbypass.me, and various YouTube.com and Vimeo pages. I captured and preserved

     web pages and videos during my work on the investigation.

            3.      Some of the webpages and videos that I captured in 2014 and 2015 were

     attached to my previous declaration in this matter, executed on September 16, 2015, and filed

     with the court [Dkt. 6-2]. I am advised by other FTC staff members that these and other web

     pages and videos that I captured during my work on the investigation were assigned

     identifiers / Bates numbers in the form “FTC-PROD-xxxxxx” for production to the

     Defendants in discovery.

            4.      I have been asked to review my files and provide this declaration in

     connection with the FTC’s amended Motion for Summary Judgment to authenticate various


                                                 Page 1 of 7

                                                                                            PX1-1
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     web page printouts, search results, and video files that were not submitted with my

     September 16, 2015 declaration. I was also asked to compare certain of my video files to

     video files that were used as deposition exhibits.

            5.       The following videos that I captured were previously filed as attachments to

     my September 16, 2015 declaration [Dkt. 6-2, PageID 191 ¶4; Dkt. 8 (disc)], prior to the

     assignment of Bates numbers for discovery:

                 •   “What is the Roca Labs Procedure” (Att. V1)
                 •   “What is the Success Rate?” (Att. V2)
                 •   “How much weight will I lose with Roca Labs’ Gastric Bypass” (Att. V3)
                 •   “Fat is unhealthy and ugly. - Gastric Bypass Alternative ® can” (Att. V4).

            6.       Sometimes my video captures on a given date would include multiple, nearly

     identical versions of the same video content, but the individual video files would vary in file

     size, or have slightly different lengths. True and correct copies of the following files that I

     downloaded using video downloader software on April 22, 2015, named by their assigned

     Bates numbers, are included in PX2 (disc) being submitted in support of the FTC’s amended

     Motion for Summary Judgment:

            Att. A1:        FTC-PROD-004295
            Att. A2:        FTC-PROD-004297
            Att. A3:        FTC-PROD-004298
            Att. A4:        FTC-PROD-004542
            Att. A5:        FTC-PROD-004546
            Att. A6:        FTC-PROD-004548
            Att. A7:        FTC-PROD-004550
            Att. A8:        FTC-PROD-004559
            Att. A9:        FTC-PROD-004563
            Att. A10:       FTC-PROD-004575.

            7.       I have reviewed the four videos listed in paragraph 5, above, and reviewed

     videos listed in paragraph 6, above. I am advised by other FTC staff that the Bates numbered



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                                                                                               PX1-2
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     videos in paragraph 6 have been referenced in various depositions and discovery requests

     during the course of the litigation. Based on my review, I can state that:

                 •   “What is the Roca Labs Procedure” (my previously filed Att. V1) is

                     substantially identical to the video files designated as FTC-PROD-004297 and

                     FTC-PROD-004298;

                 •   “What is the Success Rate?” (my previously filed Att. V2) is substantially

                     identical to the video file designated as FTC-PROD-004575;

                 •   “How much weight will I lose with Roca Labs’ Gastric Bypass” (my

                     previously filed Att. V3) is substantially identical to the video file designated

                     as FTC-PROD-004563; and

                 •   “Fat is unhealthy and ugly. - Gastric Bypass Alternative ® can” (my

                     previously filed Att. V4) is substantially identical to the video file designated

                     as FTC-PROD-004546.

     Additionally, I can state after review that the video file designated as FTC-PROD-004559 is

     substantially identical to a video (FTC-PROD-013837) that I am advised that witness Sharon

     Hensley provided to the FTC in discovery.

            8.       I also reviewed a video file that received Bates number FTC-PROD-004690.

     A true and correct copy of that video (Att. B, hereto), which I recorded using Camtasia video

     capture software on April 22, 2015, is included in PX2 (disc) being submitted in support of

     the FTC’s amended Motion for Summary Judgment. At the 0:36 mark in the 004690

     recording, I clicked on a video embedded in the web page https://www.rocalabs.com/gastric-

     bypass-no-surgery. The video that I clicked on at that point is under the heading, “How Does



                                                Page 3 of 7

                                                                                                PX1-3
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     Roca Labs® regimen work?” The video I clicked on, shown from 0:36 to 1:01 in the

     recording, is the same video as the “What is the Roca Labs Procedure” video included as Att.

     V1 to my September 16, 2015 declaration previously filed in this matter [Dkt. 6-2, Dkt. 8].

            9.        As part of my work on this investigation, I ran searches in Google, Bing, and

     Yahoo and captured search result pages showing advertisements (“search ads”) for Roca

     Labs products. Those search ads linked to websites, including RocaLabs.com and Mini-

     gastric-bypass.me, that advertised, sold, or discussed Roca Labs products.

            10.       True and correct copies of two recordings that I made using Camtasia video

     capture software while running web searches using the Google search engine, FTC-PROD-

     003769 (Att. C1 made on December 4, 2014) and FTC-PROD-004692 (Att. C2, made on

     December 3, 2014) are included on PX2 (disc) being submitted in support of the FTC’s

     amended Motion for Summary Judgment. The 003769 recording shows me typing “gastric

     bypass surgery” into the search box, clicking a search ad, and being directed to the mini-

     gastric-bypass.me website. The 004692 recording shows me typing “Roca Labs how much

     weight loss” into the search box, clicking a search ad, and being directed to the

     RocaLabs.com website.

            11.       Attached as Atts. D-K hereto are true and correct copies of my “print-to-

     PDF” captures of the following results, from my searches using the terms shown, on the

     dates indicated, on the identified search engines, along with their assigned starting Bates

     numbers:

            Att. D:          Google, search term “Roca Labs”
                             March 24, 2015, FTC-PROD-003800




                                                Page 4 of 7

                                                                                              PX1-4
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            Att. E:          Google, search term “gastric bypass”
                             March 24, 2015, FTC-PROD-003771

            Att. F:          Google, search term “lap band surgery cost”
                             March 24, 2015, FTC-PROD-003796

            Att. G:          Google, search term “Roca Labs reviews”
                             April 10, 2015, FTC-PROD-005794

            Att. H:          Bing, search term “gastric sleeve”
                             March 25, 2015, FTC-PROD-003645

            Att. I:          Bing, search term “Roca Labs”
                             March 25, 2015, FTC-PROD-003741

            Att. J:          Yahoo, search term “Roca Labs”
                             March 26, 2015, FTC-PROD-004803

            Att. K:          Yahoo, search term “gastric bypass surgery”
                             March 26, 2015, FTC-PROD-004705

     The search ads shown in ¶2 of my September 16, 2015 declaration [Dkt. 6-2, PageID 188-89]

     were copied from these printouts.

            12.       In addition to the web page printouts attached to my September 16, 2015

     declaration, I printed numerous other Roca Labs web pages. Attached as Atts. L-V hereto are

     true and correct copies of my “print-to-PDF” captures of the following web pages at the

     URLs listed on the dates shown, along with their assigned Bates ranges:

            Att. L:          https://rocalabs.com/support
                             December 4, 2014, FTC-PROD-007196

            Att. M:          https://rocalabs.com/support/accelerated-weight-loss
                             December 4, 2014, FTC-PROD-007179 to FTC-PROD-007180

            Att. N:          https://rocalabs.com/support/instructions
                             December 4, 2014, FTC-PROD-007191 to FTC-PROD-007195

            Att. O:          http://old.rocalabs.com/compared-to/best-diet-pills/
                             March 23, 2015, FTC-PROD-006487 to FTC-PROD-006488


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                                                                                            PX1-5
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            Att. P:          http://old.rocalabs.com/weight-loss-procedure/for-teens-kids
                             March 23, 2015, FTC-PROD-006512 to FTC-PROD-006514

            Att. Q:          http://old.rocalabs.com/answers/ask-the-doctor/faq/90-success-rate/
                             March 23, 2015, FTC-PROD-006572 to FTC-PROD-006574

            Att. R:          http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-
                             calculator/
                             March 23, 2015, FTC-PROD-006575 to FTC-PROD-006583

            Att. S:          http://old.rocalabs.com/weight-loss-procedure/for-men
                             March 23, 2015, FTC-PROD-006632 to FTC-PROD-006634

            Att. T:          http://old.rocalabs.com/support/success/money-back-success-belt/
                             March 23, 2015, FTC-PROD-006665 to FTC-PROD-006668

            Att. U:          http://old.rocalabs.com/answers/ask-the-doctor/faq/no-diet-restrictions/
                             March 23, 2015, FTC-PROD-006672 to FTC-PROD-006674

            Att. V:          http://old.rocalabs.com/privacy/
                             March 23, 2015, FTC-PROD-006698 to FTC-PROD-006699.

            13.       Attached as Att. W hereto are true and correct copies of my “print-to-PDF”

     captures from March 26, 2015 of the web page https://rocalabs.com/faq/general/ingredients

     (FTC-PROD-007262), and of the larger label images that displayed when I clicked on the

     three small label images at the bottom of that page (FTC-PROD-007256-007261).

            14.       Attached as Atts. X-CC hereto are true and correct copies of my “print-to-

     PDF” captures from September 23, 2015 of the following web pages:

            Att. X:          https://rocalabs.com/faq/general/no-diet-restrictions
                             FTC-PROD-005365 to FTC-PROD-005366

            Att. Y:          https://rocalabs.com/gastric-bypass-no-surgery
                             FTC-PROD-005380 to FTC-PROD-005386

            Att. Z:          https://rocalabs.com/faq/general/roca-labs-success-rate
                             FTC-PROD-005403 to FTC-PROD-005404



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                                                                                               PX1-6
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                                                                        PX1-7
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                           Declaration of Amber Howe
                              Attachments A1-A10

                 A1: Electronic File Name FTC-PROD-004295
                 A2: Electronic File Name FTC-PROD-004297
                 A3: Electronic File Name FTC-PROD-004298
                 A4: Electronic File Name FTC-PROD-004542
                 A5: Electronic File Name FTC-PROD-004546
                 A6: Electronic File Name FTC-PROD-004548
                 A7: Electronic File Name FTC-PROD-004550
                 A8: Electronic File Name FTC-PROD-004559
                 A9: Electronic File Name FTC-PROD-004563
                 A10: Electronic File Name FTC-PROD-004575


         [Placeholder for the Video Files Produced Separately in PX2 (CD)]




                                                                             PX1-8
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 10 of 93 PageID 8104




                           Declaration of Amber Howe
                                 Attachment B

                    Electronic File Name FTC-PROD-004690


          [Placeholder for the Video File Produced Separately in PX2 (CD)]




                                                                             PX1-9
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                           Declaration of Amber Howe
                               Attachments C1-C2

                  C1: Electronic File Name FTC-PROD-003769
                  C2: Electronic File Name FTC-PROD-004692


          [Placeholder for the Video Files Produced Separately in PX2 (CD)]




                                                                              PX1-10
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 12 of 93 PageID 8106




                           Declaration of Amber Howe
                                 Attachment D

                          Google, search term “Roca Labs”
                          March 24, 2015
                          FTC-PROD-003800




                                                                        PX1-11
3/24/2015
       Case   8:15-cv-02231-MSS-CPT DocumentRoca labs - Google
                                             210-2       FiledSearch
                                                                04/26/18 Page 13 of 93 PageID 8107

                    Roca Labs                                                                                         Sign in



                    Web       Shopping       Videos       News       Maps        More        Search tools



                    About 394,000 results (0.33 seconds)


                    Roca Labs® Official Site - RocaLabs.com
                    Ad www.rocalabs.com/USA-Official-Site
                    Gastric Bypass No Surgery® at $480 World Powerful Extreme Weight Loss
                    4,314 followers on Google+
                    Women: 50-120 lbs to loss - 90% Success Rate


                    Gastric Bypass Surgery - $1500 Down $150/mo
                    Ad www.beliteweight.com/10Yrs-TrackRecord            (800) 215-6497
                    Great Hospital. Excellent Surgeon, Lowest pricing
                    BeliteWeight has 222 followers on Google+
                    Affordable Payment Plans - Before and After Photos - Medicare-Your Weight Loss


                    Roca Labs Gastric Bypass - Amazon.com
                    Ad www.amazon.com/
                    4.4             rating for amazon.com
                    Buy roca labs gastric bypass at Amazon! Free Shipping on Qualified Orders.
                    Ratings: Prices 10/10 - Selection 10/10 - Shipping cost 10/10 - Overall 10/10


                    Roca Labs — Better, Safer & Cheaper than Gastric Bypass ...
                    https://rocalabs.com/
                    Best non-surgical alternative to all bariatric surgeries — only $480. Roca Labs invented
                    Gastric Bypass NO Surgery® & Gastric Bypass Alternative@. Immediate ...
                    Gastric Bypass NO surgery - My Healthy Weight - Gastric Bypass Alternative


                    57 ROCA LABS complaints and reviews @ Pissed Consumer
                    roca-labs.pissedconsumer.com/
                    Roca Labs complaints about product itself, product does not work, customer service.
                    Roca Labs DOES WORK, I Lost 83 lbs & improved my health. Roca Labs ...
                    Roca Labs DOES WORK, I ... - Who really are these people ... - Public Record - Tag


                    Roca Labs Company | Facebook
                    https://www.facebook.com/Roca.Labs.Company
                    Roca Labs Company, Tampa, FL. 62259 likes · 1363 talking about this. Roca Labs®
                    invented the Gastric bypass NO Surgery® to help you lose 100 pounds in...


                    Roca Labs Nutraceutical USA - Better Business Bureau
                    www.bbb.org/.../roca-labs-nutraceutical-usa-in-sar...          Better Business Bureau
                                Rating: 5 - 1 review
                    BBB's Business Review for Roca Labs Nutraceutical USA, Business Reviews and
                    Ratings for Roca Labs Nutraceutical USA in Sarasota, FL.


                    Roca Labs stories at Techdirt.
                    https://www.techdirt.com/blog/?company=roca+labs              Techdirt
                    Dec 2, 2014 - If you thought the Roca Labs story couldn't get any more bizarre, well,
                    then you haven't been paying much attention, because no matter how ...


                    PissedConsumer Fights Back Against Roca Labs' Attempt ...
                    https://www.techdirt.com/.../pissedconsumer-fights-back-against-...           Techdirt
                    Sep 22, 2014 - Presumably for that reason, Roca Labs has attempted to disguise this
                    ..... Still what they represent is a good measure of Roca Labs' complaint.


                    Roca Labs Sues Marc Randazza For Defamation | Adam ...
                    adamsteinbaugh.com/.../roca-labs-sues-marc-randazza-for-defamation/
                    Nov 11, 2014 - Roca Labs is the gift that keeps on giving. This time, they're giving their
                    attorney-antagonist Marc Randazza a bunch of free advertising: they've ...


                    Roca Labs Weight Loss Scam - Sequence Inc.
                    www.sequenceinc.com/fraudfiles/2014/09/roca-labs-weight-loss-scam/
                                                                                                                 PX1-12
https://www.google.com/webhp?hl=en#hl=en&q=Roca+labs                                                                            1/2
3/24/2015
       Case   8:15-cv-02231-MSS-CPT DocumentRoca labs - Google
                                             210-2       FiledSearch
                                                                04/26/18 Page 14 of 93 PageID 8108
                    Sep 22, 2014 - Roca Labs sells a weight loss product that may be viewed as a scam by
                    some consumers. They call it “Gastric Bypass No Surgery,” and it is ...


                    Roca Labs (@RocaLabs) | Twitter
                    https://twitter.com/rocalabs
                    The latest Tweets from Roca Labs (@RocaLabs). Inventors of Gastric Bypass NO
                    Surgery & Gastric Bypass Alternative to lose 100 lbs without surgery.


                    What's up With Roca Labs?
                    whatsupwithrocalabs.com/
                    Aug 28, 2014 - Hi Everyone! It has been close to a year since I first discovered
                    Rocalabs and their formula that acts like gastric bipass surgery. What a trip it ...



                    Searches related to roca labs
                    roca labs side effects         roca labs reviews
                    roca labs complaints           roca labs instructions
                    does roca labs really work     roca labs formula
                    roca labs diet reviews         roca labs diet




                                             1 2 3 4 5 6 7 8 9 10                        Next




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                    Help      Send feedback        Privacy       Terms




                                                                                                           PX1-13
https://www.google.com/webhp?hl=en#hl=en&q=Roca+labs                                                                2/2
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 15 of 93 PageID 8109




                           Declaration of Amber Howe
                                 Attachment E

                          Google, search term “gastric bypass”
                          March 24, 2015
                          FTC-PROD-003771




                                                                        PX1-14
3/24/2015
       Case                               gastric
              8:15-cv-02231-MSS-CPT Document      bypass -Filed
                                              210-2       Google Search
                                                                 04/26/18 Page 16 of 93 PageID 8110

                     gastric bypass                                                                                                      Sign in



                     Web       Images       Videos      News       Shopping        More       Search tools



                     About 5,760,000 results (0.45 seconds)


                     Gastric Bypass Surgery - BeLiteWeight.com                                               Ads
                     Ad www.beliteweight.com/10Yrs-TrackRecord
                     $1500 Down $150/mo. Great Hospital. Excellent Surgeon, Lowest pricing
                                                                                                             No Surgery solution $480
                                                                                                             www.rocalabs.com/†NO-surgery
                                                                                                             Better than Gastric bypass
                     Gastric Bypass Surgery - reshealth.org                                                  Roca Labs® has 90% success
                      Ad www.reshealth.org/weightloss           (773) 665-3025
                     Is the Most Widely Used Bariatric Procedure Right For You? Get Info.
                     Live a Healthier Life · Support at Every Step · Up to 75% Weight Loss
                                                                                                             A New Life Is Waiting
                                                                                                             www.franciscanalliance.org/
                     Meet Our Team of Experts - Procedure Options - Contact Us
                                                                                                             The South Suburbs Most Complete
                                                                                                             Bariatric Surgery Center
                     Before Bariatric Surgery - Optifast.com
                     Ad www.optifast.com/
                     Consider OPTIFAST® and get a head start on weight loss before surgery
                                                                                                             "I lost 94 lbs in 6mos"
                                                                                                             www.bariatricweightloss-surgery.com/
                                                                                                             Gain Your Life Back Don't Delay
                     Roux-En-Y Gastric Bypass Surgery and Recovery - WebMD                                   Most Trusted and Respected
                     www.webmd.com/diet/weight-loss-surgery/gastric-bypass                WebMD
                     Mar 12, 2014 - Gastric bypass surgery makes the stomach smaller and allows food to      Affordable Gastric Sleeve
                     bypass part of the small intestine. You will feel full more quickly than ...            www.lapbandsurgery.com/
                                                                                                             Most Experienced Bariatric Surgeon
                     Gastric bypass surgery - Wikipedia, the free encyclopedia                               In MX. 16 Yrs Over 5500 Surgeries
                     en.wikipedia.org/wiki/Gastric_bypass_surgery           Wikipedia
                     Gastric bypass surgery refers to a surgical procedure in which the stomach is divided   Gastric Bypass Surgery
                     into a small upper pouch and a much larger lower "remnant" pouch and ...                www.wlsdocs.com/
                     Surgical indications - Surgical techniques - Physiology - Complications                 Deals on gastric bypass surgery.
                                                                                                             Get gastric bypass surgery now.
                     Bariatric surgery - Mayo Clinic
                     www.mayoclinic.org/tests-procedures/.../prc-20019138           Mayo Clinic              NO surgery 86 lbs loss
                     Gastric bypass and other weight-loss surgeries make changes to your digestive system    health.i-newswire.com/
                     to help you lose weight by limiting how much you can eat or by reducing ...             Real story!
                                                                                                             Non surgical gastric bypass $640

                     In the news                                                                             Illinois - Gastric Bypass
                                        Angela Jones starved to death after gastric                          www.local.com/
                                                                                                             Looking for Gastric Bypass Info
                                        bypass surgery
                                                                                                             in Illinois? Find it here!
                                        Daily Mail - 2 days ago
                                        Angela Jones from Portsmouth underwent a gastric bypass in 2010
                                        at Spires Southampton ...                                            Gastric Bypass
                                                                                                             www.weightlosssurgery.ca/
                     Time for change: Gastric bypass surgery gives chef new life                             Laparoscopic gastric bypass in the
                     Pacific Daily News - 53 mins ago                                                        private sector without waiting!

                     Obese Woman Who Lost 280 Pounds In One Year After Gastric Bypass Dies Of                See your ad here »
                     Starvation
                     The Inquisitr - 2 days ago

                     More news for gastric bypass


                     Gastric bypass surgery: MedlinePlus Medical Encyclopedia
                     www.nlm.nih.gov/.../007199....       United States National Library of Medicine
                     Gastric bypass is surgery that helps you lose weight by changing how your stomach
                     and small intestine handle the food you eat. After the surgery, your stomach ...


                     Gastric Bypass Surgery: Find Out About Complications
                     www.medicinenet.com › ... › gastric bypass surgery index           MedicineNet
                     Get information on gastric bypass surgery (stomach stapling, bariatric surgery)
                     complications, risks, types (Roux-en-Y, extensive), and how the operation is ...


                     Gastric Bypass Surgery: Complete Patient Guide
                     www.bariatric-surgery-source.com/laparoscopic-gastric-bypass-surgery.h...
                                                                                                                                  PX1-15
https://www.google.com/webhp?hl=en#hl=en&q=gastric+bypass                                                                                           1/2
3/24/2015
       Case                               gastric
              8:15-cv-02231-MSS-CPT Document      bypass -Filed
                                              210-2       Google Search
                                                                 04/26/18 Page 17 of 93 PageID 8111
                     Gastric bypass surgery, also called “Roux-en-Y gastric bypass”, is one of the most
                     commonly performed types of weight loss surgery. This page will give you ...


                     Complications of Gastric Bypass - Bariatric Surgery Source
                     www.bariatric-surgery-source.com/complications-of-gastric-bypass-surg...
                     Complications of gastric bypass surgery vary according your procedure, surgeon and
                     behaviors before and after surgery. This page reviews the most common ...


                     Gastric bypass surgery leads to more weight loss ...
                     www.foxnews.com/.../gastric-bypass-leads-to-more-w...             Fox News Channel
                     Oct 29, 2014 - In a new study published in JAMA Surgery, researchers analyzed the
                     weight loss and complications for laproscopic Roux-en-Y gastric bypass ...



                     In-depth articles
                     Weight-loss surgery: A gut-wrenching question
                                  nature.com - Jul 2014
                                  Gastric-bypass surgery can curb obesity as well as diabetes and a slew
                                  of other problems. Researchers are now trying to find out how it works.




                     The Bypass Cure
                                  discovermagazine.com - Oct 2012
                                  An X-ray depicts the upper gastrointestinal tract of an obese patient six
                                  months after gastric bypass surgery. The reduced size of the stomach
                                  makes this patient feel fuller sooner, ...


                     Weight Loss Surgery Increases Risk of Alcohol ...
                                  go.com - Jun 2012
                                  Reserachers at the University of Pittsburgh report that there is a link
                                  between have the popular gastric bypass surgery and the symptoms of
                                  alcohol use disorders.




                     Searches related to gastric bypass
                     gastric bypass side effects      gastric bypass complications
                     gastric bypass recovery time     gastric sleeve
                     gastric bypass cost              gastric bypass forum
                     gastric bypass diet              mini gastric bypass




                                            1 2 3 4 5 6 7 8 9 10                       Next




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                    Help      Send feedback         Privacy     Terms




                                                                                                              PX1-16
https://www.google.com/webhp?hl=en#hl=en&q=gastric+bypass                                                              2/2
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 18 of 93 PageID 8112




                           Declaration of Amber Howe
                                 Attachment F


                          Google, search term “lap band surgery cost”
                          March 24, 2015
                          FTC-PROD-003796




                                                                        PX1-17
3/24/2015
       Case                              lap band210-2
              8:15-cv-02231-MSS-CPT Document      surgery cost - Google
                                                            Filed       Search
                                                                    04/26/18   Page 19 of 93 PageID 8113
                    lap band surgery cost                                                                                                              Sign in



                    Web       Shopping        Videos       Images       News        More         Search tools



                    About 528,000 results (0.55 seconds)


                    LAP-BAND™ Surgery Cost - DayOneHealth.com                                                        Ads
                    Ad www.dayonehealth.com/
                    Take The First Step To A New You. Schedule Your Consultation Today!
                                                                                                                     Lap-Band® Official Site
                                                                                                                     www.lapband.com/
                    Register For Our Seminar - Schedule A Consultation - Why Day One Health?
                                                                                                                     (800) 527-2263
                                                                                                                     Explore Lap-Band System. Compare
                    LAP-BAND® Surgery $4,900 - drdkim.net                                                            Your Options - Find A Surgeon.
                    Ad www.drdkim.net/         (817) 717-7447
                    As Low As $117/Month If Qualified Contact Kim Bariatric Institute Now
                    Gastric Sleeve - Meet Dr. David Kim - Lap Band - Gastric Bypass
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                    Gastric Band Surgery - BeLiteWeight.com                                                          OPTIFAST® - nonsurgical weight loss
                    Ad www.beliteweight.com/10Yrs-TrackRecord
                    Affordable, $1500 Down, $150/mo. Prominent Surgeon, Great Hospital!
                                                                                                                     A New Life Is Waiting
                                                                                                                     www.franciscanalliance.org/
                                                                                                                     The South Suburbs Most Complete
                      The average out of pocket cost of lap band surgery in Australia -                              Bariatric Surgery Center
                      assuming you have insurance - is comparable to gastric sleeve and
                      gastric bypass. Without private insurance, the gap becomes more                                Gastric Band Surgery
                      noticeable... gastric band surgery is between $2,000 and $6,000 less                           www.northshore.org/
                      expensive on average than the other two procedures. Feb 5, 2015                                (847) 570-1700
                                                                                                                     NorthShore Has Leading Experts
                      State-Specific Cost of Lap Band Surgery: 2015                                                  On Gastric Band Surgery. Learn More
                      www.bariatric-surgery-source.com/cost-of-lap-band-surgery.html
                                                                                                                     Affordable Gastric Sleeve
                                                                                                          Feedback   www.lapbandsurgery.com/
                                                                                                                     Most Experienced Bariatric Surgeon
                                                                                                                     In MX. 16 Yrs Over 5500 Surgeries
                    State-Specific Cost of Lap Band Surgery: 2015
                    www.bariatric-surgery-source.com/cost-of-lap-band-surgery.html
                    Feb 5, 2015 - The average out of pocket cost of lap band surgery in Australia -                  Better & Faster than Band
                    assuming you have insurance - is comparable to gastric sleeve and gastric bypass.                www.rocalabs.com/Lap-Band-Alternative
                    Without private insurance, the gap becomes more noticeable... gastric band surgery is            NO surgery procedure only $480
                    between $2,000 and $6,000 less expensive on average than the other two procedures.               Roca Labs® creates small stomach


                    Affording the LAP-BAND® SYSTEM                                                                   NO surgery 86 lbs loss
                    www.lapband.com/learn-about-lapband/affording-lapband                                            health.i-newswire.com/
                    With today's rising health costs, it's normal to wonder if now is the time to ... on several     Avoid surgery - Read first!
                    factors, such as your health plan, the surgeon/hospital you choose, etc.                         Gastric bypass effect No surgery


                    Lap Band Worth It? Reviews, Cost, Pictures - RealSelf                                            Illinois - Gastric Bypass
                    www.realself.com/Gastric-band/reviews                                                            www.local.com/
                                 Rating: 90% - 76 reviews                                                            Looking for Gastric Bypass Info
                    Lap band surgery involves placing an inflatable band around the top portion of the               in Illinois? Find it here!
                    stomach, limiting its ability to expand. Because it can't hold as much food ...                  See your ad here »
                    Dr. Johnell, Greeley, CO - Learn more - Pictures (4) - Down from 275 Lbs to 165lbs ...


                    Average Cost Of Lap Band Surgery - 2015 Price Survey
                    obesitycoverage.com/insurance-and-costs/how.../average-lap-band-prices
                    Feb 12, 2015 - This chart shows you the average cost of Lap Band surgery in your
                    state for 2015. Be aware of all the costs involved when paying for Lap Band ...
                    Am I Morbidly Obese? - What is a Comorbidity? - How Much Weight Will You ...


                    Lap Band (Surgery): Get the Facts on Cost, Diet and Recovery
                    www.medicinenet.com/lap_band_surgery_gastric_banding/...                     MedicineNet
                    Jan 31, 2014 - Read about the lap band (gastric banding) surgery procedure, risks,
                    complications, changes in diet and lifestyle, and what to expect from this ...


                    Lapband Pics Before and After 3 Months (Transforming ...
                                          www.youtube.com/watch?v=Nw-LAul2Ehs
                                          Apr 1, 2009 - Uploaded by skymoon1982

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https://www.google.com/webhp?hl=en#hl=en&q=lap+band+surgery+cost                                                                                                 1/2
3/24/2015
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                                                            Filed       Search
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                                 ▶ 6:22 My Transformation in 3 Months with lapband Surgery Sugery
                                         Day: Jan 6, ... when you get lapband, is your ...


                    How Much Does Lap-Band Surgery Cost?
                    www.lapband.us/lap-band-cost.html
                    Consumer guide to Lap-Band surgery. Learn more about the cost of surgery and
                    related expenses, including pre-op tests and exams, choice of surgeon, ...


                    Weight Loss Surgery Costs & Payment Options | LAP-BAND ...
                    www.siouxlandsurg.com/lapband/cost_payment_options.htm
                    Financing your LAP-BAND® System Surgery. Don't worry if your insurance doesn't
                    cover the cost of LAP-BAND® System surgery. Flexible Payment Plans are ...


                    My Lap-Band disaster - Salon.com
                    www.salon.com/2013/07/08/my_lap_band_disaster/               Salon
                    Jul 8, 2013 - I beat an obsessive track to Google and looked up everything I could about
                    Lap-Band surgery, which I now saw as the answer I'd been looking ...


                    How Much Does Lap Band Surgery Cost without Insurance?
                    guidedoc.com/much-lap-band-surgery-cost-without-insurance
                    Those considering lap band surgery cost who don't have insurance can benefit this
                    article about lap band surgery costs | Official guide on Guidedoc.com.



                    Searches related to lap band surgery cost
                    lap band surgery cost without insurance
                    lap band surgery requirements
                    lap band surgery risks
                    lap band surgery insurance
                    how much does lap band surgery cost
                    lap band procedure
                    lap band surgery information
                    how much does lap band surgery cost 2012




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https://www.google.com/webhp?hl=en#hl=en&q=lap+band+surgery+cost                                                        2/2
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 21 of 93 PageID 8115




                           Declaration of Amber Howe
                                 Attachment G


                          Google, search term “Roca Labs reviews”
                          April 10, 2015
                          FTC-PROD-005794




                                                                        PX1-20
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 22 of 93 PageID 8116




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                           Declaration of Amber Howe
                                 Attachment H


                          Bing, search term “gastric sleeve”
                          March 25, 2015
                          FTC-PROD-003645




                                                                        PX1-23
3/25/2015
       Case                                   gastric sleeve
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               gastric sleeve


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               Extreme-Fast Weight Loss NO Surgery Immediate Small Stomach - only $480
               Roca Labs Better, Safer & Cheaper than Gastric Bypass | Official Site                       Gastric Sleeve Before and After Stories
                  Am I qualified?                          Gastric Bypass Costs                            Gastric Sleeve Surgery Before and After
                  Gastric Bypass NO surgery WIKI           Success Before and After Videos
                                                                                                           Gastric Sleeve Recovery Time
                  90% Success Rate                         Ask the Doctor
                                                                                                           Gastric Sleeve Side Effects
               What The Gastric Sleeve - What Is The Gastric Sleeve.
                                                                                                           Gastric Sleeve vs Lap Band
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               Gastric Sleeve Surgery - World Renowned Experienced Surgeon.                                Related images
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                 Lap-Band® - $3,749                        Patient Testimonials
                 Before & After Photos                     Gastric Balloon - $3,799                        Gastric Sleeve         Gastric Sleeve            Gastric Sleeve
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               Gastric Sleeve Surgery - What Is Gastric Sleeve Surgery.
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               What Is Gastric Sleeve Surgery. Find Expert Advice on About.com.
                  Search About.com                         About.com Home
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                                                                                                           www.ObesitySurgeryDallas.com
                  About.com Article List                   100+ Topics
                                                                                                           Start Losing Weight Today. Get Gastric
                                                                                                           Sleeve Surgery for \$11,800.
               Gastric Sleeve Surgery - WebMD - Better information ...                                     Center for Obesity Surgery Dallas
               www.webmd.com/diet/...operations-stomach-stapling-or-gastric-banding                        See your ad here »
               Mar 12, 2014 · Restrictive operations like gastric sleeve surgery make the stomach
               smaller and help people lose weight. With a smaller stomach, you will feel full a lot ...
                                                                                                                Twitter
               Gastric Sleeve Surgery - Vertical Sleeve Gastrectomy - …                                              LORI
               www.yourbariatricsurgeryguide.com/gastric-sleeve                                                      @loriedden · 14 hours ago
               Gastric sleeve surgery, also known as gastric sleeve resection or vertical sleeve
                                                                                                                     The Big Book on the Gastric Sleeve - Alex Brecher &
               gastrectomy, can be a powerful first procedure for weight loss. Learn More!
                                                                                                                     Natalie Stein | buff.ly/1Ckzy8c | Medical #ebook #Medical
               Before & After Photos · Gastric Sleeve Risks · Gastric Sleeve Cost                                    bestseller ebooks
                                                                                                                                 See on Twitter
               Gastric Sleeve | All About the Gastric Sleeve Surgery
                                                                                                           See more on Twitter
               www.gastricsleeve.com
               Forum for people who have had a gastric sleeve or are interested in getting a gastric
               sleeve surgery.


               Gastric Sleeve Surgery: Complete Patient Guide
               www.bariatric-surgery-source.com/gastric-sleeve-surgery.html
               Gastric sleeve surgery, also called sleeve gastrectomy, is quickly emerging as the go-to
               procedure for many top surgeons and may even be overtaking gastric bypass as ...


               Sleeve gastrectomy - Wikipedia, the free encyclopedia
               en.wikipedia.org/wiki/Sleeve_gastrectomy
               Sleeve gastrectomy is a surgical weight-loss procedure in which the stomach is reduced
               to about 25% of its original size, by surgical removal of a large portion of ...
               Procedure · Safety and Efficacy ... · Complications · Costs


               Gastric Sleeve Surgery Recovery - Life After Sleeve ...
               www.yourbariatricsurgeryguide.com/gastric-sleeve-recovery
               Gastric sleeve recovery involves some downtime and requires relearning how to eat.
               Learn more about recovering from sleeve gastrectomy here.


               What is the GASTRIC SLEEVE? Information on cost, …
               www.obeseinfo.com/vertical-gastric-sleeve.htm
               The gastric sleeve is an alternative to the roux-en-y gastric bypass and lap band surgery
               procedures with similar positive outcomes including a potential cure for ...


               Gastric Sleeve Surgery & Procedure | UPMC | Pittsburgh, …
               www.upmc.com › Gastric Sleeve › Pages
               Learn more about weight loss surgery with a gastric sleeve from leading physicians in
               the UPMC Bariatric Surgery Program.

                                                                                                                                                   PX1-24
https://www.bing.com/search?q=gastric+sleeve&go=Submit&qs=n&form=QBLH&pq=gastric+sleeve&sc=8-14&sp=-1&sk=&cvid=b8037d66808e4fa5acce9255… 1/2
3/25/2015
       Case                                   gastric sleeve
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               Videos of gastric sleeve
               bing.com/videos




                     7:35 HD               11:22                   4:41                  3:26

                 12th Week Post          Gastric Sleeve          7 Days after          Gastric Sleeve:
                 Gastric Sleev…          41: 15 Month …          Gastric Sleev…        Week 10 Resu…
                 YouTube                 YouTube                 YouTube               YouTube

               See more videos of gastric sleeve


               Related searches for gastric sleeve
               Gastric Sleeve Before and After Photos        Gastric Sleeve Before and After Stories
               Gastric Sleeve Recovery Time                  Gastric Sleeve Surgery Before and After
               Gastric Sleeve Diet                           Gastric Bypass vs Gastric Sleeve
               Gastric Sleeve Side Effects                   Gastric Sleeve vs Lap Band


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               Roca Labs Better, Safer & Cheaper than Gastric Bypass | Official Site

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Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 27 of 93 PageID 8121




                           Declaration of Amber Howe
                                  Attachment I


                          Bing, search term “Roca Labs”
                          March 25, 2015
                          FTC-PROD-003741




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3/25/2015
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               Gastric Bypass NO Surgery $480 | Roca Labs                                                Roca Labs Real or Scam
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                  Weight Loss Surgery Alternative         Research Center
                                                                                                         Roca Labs Doesn't Work
                  Reduces Stomach Size                    Order Now - Only $480.00
                                                                                                         Roca Labs USA Complaints
               A Lighter Me #1 in Mexico - Weight Loss Surgery in Mexico.
                                                                                                         Roca Labs Lawsuit
               Ad · aLighterMe.com/Gastric-Sleeve
               Weight Loss Surgery in Mexico. Gastric Sleeve Surgery - Low Prices                        Roca Labs Gastric Bypass No Surgery Reviews
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                          Rating: 2.9/5 · 7 ratings                                                      Interested In Weight Loss Surgery? Get
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                                                                                                         See your ad here »
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               https://rocalabs.com
               Roca Labs ® Invented 6 Surgery Alternative Solutions Each solution is individualized
               and is made of the mixture (limiting stomach volume), Anti-Cravings ® and ...


               Roca Labs: Does it really work? | What is Roca Labs ...
               https://trueroca.wordpress.com/2011/11/21/roca-labs-does-it-really...
               Nov 21, 2011 · So, because you are reading this article, you want to know about Roca
               Labs No Surgery Gastric Bypass. You have been searching on the web and you have …


               Roca Labs Nutraceutical USA Business Review in Sarasota ...
               www.bbb.org › … › Business Directory › Weight Control Services
                          Rating: 5/5 · 1 review
               BBB's Business Review for Roca Labs Nutraceutical USA, Business Reviews and
               Ratings for Roca Labs Nutraceutical USA in Sarasota, FL.


               Related searches for roca labs
               Dr Oz Roca Labs              Roca Weight Loss Reviews
               Roca Labs Real or Scam       Roca Labs Gastric Bypass No Surger…
               Roca Labs Lawsuit            Roca Labs USA Complaints


               Roca Labs Weight Loss Regimen - Roca Labs
               https://rocalabs.com/regimen
               Roca Labs ® Invented 6 Surgery Alternative Solutions Each solution is individualized
               and includes the Roca Labs® mixture (which limits stomach volume), the Anti ...


               roca labs | eBay
               www.ebay.com › Search › roca labs
               Find great deals on eBay for roca labs gastric bypass. Shop with confidence.


               [VIDEO]   Roca Labs - World News
               wn.com/roca_labs
               Roca Labs EXPOSED! 41 LBS IN 90 DAYS Roca labs TRUE REVIEW will you really
               lose weight?part 4 of 4, Final Roca labs journey video, Roca Labs-Introduction-Day 1, …


               What's up With Roca Labs? | What's up With Roca Labs?
               whatsupwithrocalabs.com
               Hi Everyone! It has been close to a year since I first discovered Rocalabs and their
               formula that acts like gastric bipass surgery. What a trip it has been!


               Roca Labs® Gastric Bypass
               Ad · RocaLabs.com/Approved · 33,500+ followers on Twitter
               No Surgery Weight Loss Formula Get Fast Results - Order Now $480
               Gastric Bypass NO Surgery $480 | Roca Labs

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https://www.bing.com/search?q=roca+labs&go=Submit&qs=n&form=QBLH&pq=roca+labs&sc=8-9&sp=-1&sk=&ghc=1&cvid=70c0046270c64bde9ebb62ef1d…                             1/2
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               Ad · aLighterMe.com/Gastric-Sleeve
               Weight Loss Surgery in Mexico. Gastric Sleeve Surgery - Low Prices
               Bariatric Weight Loss Surgery in Mexico - Affordable Obesity Surgery
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Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 30 of 93 PageID 8124




                           Declaration of Amber Howe
                                  Attachment J


                          Yahoo, search term “Roca Labs”
                          March 26, 2015
                          FTC-PROD-004803




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3/26/2015
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   Video                  RocaLabs.com/Approved Ad                                                                     roca labs reviews

   News                No Surgery Weight Loss Formula Get Fast Results - Order Now $480                                roca labs usa complaints

                          Gastric Bypass No Surgery Formula            Success Stories                                 roca labs instructions
   Local
                                                                                                                       roca labs review
   Answers                Weight Loss Surgery Alternative              Research Center
                                                                                                                       roca lab
   Shopping               Reduces Stomach Size                         Order Now - Only $480.00

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   Past day               Staff                                Mexico Surgery Options
   Past week              Sucess Stories                       Mexico Bariatric Surgeons

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                       Roca Labs DOES WORK, I Lost 83 lbs & improved my health. Roca Labs - AGREEMENT
                       TERMS



                       Roca Labs | Better, Safer & Cheaper than Gastric Bypass
                       rocalabs.com    Cached
                       Roca Labs ® Invented 6 Surgery Alternative Solutions Each solution is individualized and
                       is made of the mixture (limiting stomach volume), Anti-Cravings ® and ...



                       Roca Labs: Does it really work? | What is Roca Labs Gastric ...
                       trueroca.wordpress.com/2011/11/21/roca-labs-does...          Cached
                       Nov 20, 2011 · So, because you are reading this article, you want to know about Roca
                       Labs No Surgery Gastric Bypass. You have been searching on the web and you have
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                       Roca Labs Nutraceutical USA Business Review in Sarasota, FL ...
                       www.bbb.org › … › Weight Control Services
                       BBB's Business Review for Roca Labs Nutraceutical USA, Business Reviews and Ratings
                       for Roca Labs Nutraceutical USA in Sarasota, FL.



                       roca labs | eBay
                       www.ebay.com/sch/i.html?_nkw=roca lab           Cached
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                       rocalabs.com/regimen       Cached
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                       includes the Roca Labs® mixture (which limits stomach volume), the Anti ...



                       Roca Labs - World News
                       wn.com/roca_labs      Cached
                       Roca Labs EXPOSED! 41 LBS IN 90 DAYS Roca labs TRUE REVIEW will you really lose
                                                                                                                                                PX1-30
https://search.yahoo.com/search;_ylt=A0LEVzKoIhRVcoAAopKl87UF;_ylc=X1MDOTU4MTA0NjkEX3IDMgRmcgMEZ3ByaWQDamhKOHN5UkFRU2U0N…                                                 1/2
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                 weight?part 4 of 4, Final Roca labs journey video, Roca Labs-Introduction-Day 1, Does ...



                 What's up With Roca Labs? | What's up With Roca Labs?
                 whatsupwithrocalabs.com             Cached
                 Hi Everyone! It has been close to a year since I first discovered Rocalabs and their
                 formula that acts like gastric bipass surgery. What a trip it has been!



                 Roca Labs Company | Facebook
                 www.facebook.com/Roca.Labs.Company                      Cached
                 Roca Labs® invented the Gastric bypass NO Surgery® to help you lose 100 pounds in 7
                 to 12 months without a surgery. Starts $480 compared to $12,000 surgery



                 A Scam? The Holy Grail of Weight Loss? Which one? A ...
                 whatsupwithrocalabs.com/?p=21                Cached
                 When I was interested in finding out about Roca Labs and their diet, I was hard pressed to
                 find information about the product/company which was not directly put up by ...

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                 Roca Labs® Gastric Bypass
                     RocaLabs.com/Approved Ad
                 No Surgery Weight Loss Formula Get Fast Results - Order Now $480
                     Gastric Bypass No Surgery Formula                  Success Stories
                     Weight Loss Surgery Alternative                    Research Center
                     Reduces Stomach Size                               Order Now - Only $480.00


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                     Staff                                      Mexico Surgery Options
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                     Before & After Photos                      Gastric Balloon - $3,799


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Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 33 of 93 PageID 8127




                           Declaration of Amber Howe
                                 Attachment K


                          Yahoo, search term “gastric bypass surgery”
                          March 26, 2015
                          FTC-PROD-004705




                                                                        PX1-32
3/26/2015
       Case                             gastric bypass
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                       gastric bypass surgery                                                           Search                               Sign In            Mail


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   Local                  Lap-Band® - $3,749                    Gastric Sleeve - $4,499
                                                                                                                         surgery
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   More
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                                                                                                                         Find our Lowest Possible Price! About
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                                                                                                                         Gastric Bypass Surgery
                          Gastric Bypass NO surgery WIKI             Success Before and After Videos
                          90% Success Rate                           Ask the Doctor
                                                                                                                         Gastric Bypass Surgery
                                                                                                                         Gmx.com/Gastric Bypass
                       Gastric Bypass Surgery - What Is Gastric Bypass Surgery.                                          Surgery
                       Ask.com/Gastric Bypass Surgery Ad                                                                 Here's Selected Special Offers! Find
                       What Is Gastric Bypass Surgery. Discover and Explore on Ask.com!                                  Out Gastric Bypass Surgery
                          Ask a Question                        Questions and Answers
                          Explore Q&A                           Ask.com – What’s your Question?
                                                                                                                         Bariatric Surgery Foods
                                                                                                                         www.BariatricFoodSource.com
                       Gastric bypass surgery - Is Gastric Surgery Right For You?                                        SAVE Up To 55% On 100+ Products
                                                                                                                         Recommended By Bariatric Physicians
                       GastricBypassSurgeryInfo.com Ad
                       Is Gastric Surgery Right For You? Learn The Risks & Results Now

                       See more ads for: gastric bypass surgery, bariatric gastric bypass surgery
                                                                                                                         Gastric Bypass Surgery
                                                                                                                         GastricBandProcedures.com
                                                                                                                         Change Your Life With This Surgery.
                       Gastric Bypass Surgery: Facts About Weight Loss Surgery                                           Get a Free Consult & Info Guide!
                       www.webmd.com/.../what-is-gastric-bypass-surgery              Cached
                       There are several types of weight loss surgery, from gastric banding to stomach stapling.
                       Learn more about the various methods at WebMD.



                       Gastric bypass surgery - Wikipedia, the free encyclopedia
                       en.wikipedia.org/wiki/Gastric_bypass_surgery         Cached
                       Gastric bypass surgery refers to a surgical procedure in which the stomach is divided into
                       a small upper pouch and a much larger lower "remnant" pouch and then the ...



                       Roux-En-Y Gastric Bypass Surgery and Recovery
                       www.webmd.com/diet/weight-loss-surgery/gastric-bypass              Cached
                       Mar 11, 2014 · Gastric bypass surgery makes the stomach smaller and allows food to
                       bypass part of the small intestine. You will feel full more quickly than when your ...


                       Gastric bypass surgery - Yahoo Answers Results
                       What to expect from Gastric Bypass surgery ?                                     3 answers
                            I had gastric bypass surgery in April 2005. I started out at 268, now I’m 180 and
                            holding. These links will help you in many ways to make a decision if this is for you
                            or not. I vote yes, because it made such a difference in my life. I was...

                       How much does Gastric Bypass surgery cost?                                       1 answer
                           I had gastric bypass surgery in April 2005. I started out at 268, now I’m 180 and
                           holding. These links will help you in many ways to make a decision if this is for you
                           or not. I vote yes, because it made such a difference in my life. I was...

                       What are some complications of gastric bypass surgery ?                          5 answers
                            I had gastric bypass surgery in April 2005. I started out at 268, now I’m 180 and
                            holding. These links will help you in many ways to make a decision if this is for you
                            or not. I vote yes, because it made such a difference in my life. I was...
                                                                                                                                                  PX1-33
https://search.yahoo.com/search;_ylt=A0LEV0ncHhRVnDsAWRVXNyoA;_ylc=X1MDMjc2NjY3OQRfcgMyBGZyA3lmcC10LTkwMQRncHJpZANKWll5X2pD… 1/3
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              8:15-cv-02231-MSS-CPT Document         surgery -Filed
                                                  210-2        Yahoo Search Results Page 35 of 93 PageID 8129
                                                                      04/26/18
                  4833 related questions



                  Gastric bypass surgery: Who is it for? - Mayo Clinic
                  www.mayoclinic.org/.../gastric-bypass-surgery/art-20046318              Cached
                  Despite its health benefits, gastric bypass surgery poses some potential risks. Find out if
                  it might be an option for you.



                  Your diet after gastric bypass surgery: MedlinePlus Medical ...
                  www.nlm.nih.gov/medlineplus/ency/patientinstructions/...          Cached
                  Mar 15, 2015 · You had gastric bypass surgery. This surgery made your stomach smaller
                  by closing off most of your stomach with staples. It changed the way your body ...



                  Gastric bypass surgery: MedlinePlus Medical Encyclopedia
                  www.nlm.nih.gov/medlineplus/ency/article/007199.htm            Cached
                  Gastric bypass is surgery that helps you lose weight by changing how your stomach and
                  small intestine handle the food you eat. After the surgery, your stomach will be ...



                  GASTRIC BYPASS SURGERY- Information on cost, expected weight ...
                  www.obeseinfo.com        Cached
                  Gastric bypass surgery is the best solution for permanent weight loss. Obesity surgery is
                  performed by our top rated bariatric surgeons and offer gastric bypass via ...



                  Bariatric surgery Definition - Tests and Procedures - Mayo Clinic
                  www.mayoclinic.org/tests-procedures/bariatric-surgery/...          Cached
                  Gastric bypass surgery is a type of weight-loss surgery. It's important to understand risks
                  and results of gastric bypass and other types of bariatric surgery.

                                                                                                                 Ads
                  Gastric Bypass Surgery - One Low All Inclusive Price:...
                     www.WeightLossAgents.com/Bypass (260) 245-1705 Ad
                  One Low All Inclusive Price: $6999! Great Financing Options Available
                     Lap-Band® - $3,749                     Gastric Sleeve - $4,499
                     Patient Testimonials                   Before & After Photos


                  Dangerous Gastric Surgery
                  RocaLabs.com/Surgery-Alternative Ad
                  +New: Safer Cheaper Alternative non-surgical small stomach $740
                     Am I qualified?                             Gastric Bypass Costs
                     Gastric Bypass NO surgery WIKI              Success Before and After Videos
                     90% Success Rate                            Ask the Doctor


                  Gastric Bypass Surgery - What Is Gastric Bypass Surgery.
                  Ask.com/Gastric Bypass Surgery Ad
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                     Ask a Question                         Questions and Answers
                     Explore Q&A                            Ask.com – What’s your Question?


                  Gastric bypass surgery - Is Gastric Surgery Right For You?
                  GastricBypassSurgeryInfo.com Ad
                  Is Gastric Surgery Right For You? Learn The Risks & Results Now


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                  surgery
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                 1    2      3   4     5   Next                                                    2,070,000 results


                  gastric bypass surgery                                                              Search
                                                                                                                       PX1-34
https://search.yahoo.com/search;_ylt=A0LEV0ncHhRVnDsAWRVXNyoA;_ylc=X1MDMjc2NjY3OQRfcgMyBGZyA3lmcC10LTkwMQRncHJpZANKWll5X2pD… 2/3
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https://search.yahoo.com/search;_ylt=A0LEV0ncHhRVnDsAWRVXNyoA;_ylc=X1MDMjc2NjY3OQRfcgMyBGZyA3lmcC10LTkwMQRncHJpZANKWll5X2pD… 3/3
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                           Declaration of Amber Howe
                                 Attachment L


                          https://rocalabs.com/support
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                                                                        PX1-36
Support - Roca Labs                                                      Page 1 of 1
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                                                         Support Answers                                ▼


                                                           Roca Labs® Support

                                     Ƥ                                           |                                       Ę
                              Suggested Use                            Improve Results                            Psych Obstacles
                          how to use and rules to                       lose more weight;                        learn, understand and
                                    succeed                               contact coach                                    win




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                                     Tips                                 Money Back                              Administration
                           easily accelerate your                   up to $1,000 for success;                     suggestions, offers,
                                  weight loss                                  no refunds                            marketing, legal


                                                                3       Like     6      Tweet   0




*Results may vary. Results of other users may not be typical.
The site (or the procedure and the products) are not intended to provide medical advice and are not intended to diagnose, treat, cure, or prevent any disease. The
site has not been evaluated nor, based on requirements, have the products been tested by the Food and Drug Administration. None none of the statements on this
website should be viewed as such. Consult your doctor before beginning any weight loss program. Weight loss results may vary depending upon individual
characteristics and use. Before purchasing you should review Roca Labs, Inc.’s
Instructions, Suggested Use, Side Effects, Terms and Conditions.




                                            About us                                   Procedures                                  All the Answers
                                            Terms                                      Gastric Bypass Alternative®                 How much weight will I lose?
                                            Support                                    Gastric Bypass NO surgery®                  What is it?
                                            Privacy                                    Gastric Bypass Results®                     Is it safe if I...?
                                            Qualify & Order                            Gastric Bypass Effect®                      Am I qualified?
                                            Cost & insurance                           Natural Gastric Bypass®
                                                                                       Speedy Gastric Bypass™




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https://rocalabs.com/support                                                                                                                              12/4/2014
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                           Declaration of Amber Howe
                                 Attachment M


                          https://rocalabs.com/support/accelerated-weight-loss
                          December 4, 2014
                          FTC-PROD-007179 to FTC-PROD-007180




                                                                            PX1-38
Improve Results - Roca Labs                                              Page 1 of 2
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                                               Support Answers                             ▼


PROPER USE of the Formula is CRUCIAL to                                                                      

achieving the full gastric bypass effect:                                                      ǁ Support Home

• Only small stomach space available
                                                                                               Suggested Use                       ◂
• Eat 50% less without hunger pains
                                                                                               Improve Results                     ▾
                                                                                                   What Results to Expect?
• Immediate calorie deficiency
                                                                                                   Reinforcement Dose
• Weight loss
                                                                                                   Eliminating Cravings

The Formula is proven to work, with a high success rate, and users will testify to its             Body Shock

efficacy. Physically, it ALWAYS WORKS, and from there, weight loss is only a matter of             Pant / Dress

proper usage.                                                                                      Still Not Successful
                                                                                               Psychological Obstacles             ◂
What do you do if the Formula has not worked for                                               Side Effects to Avoid               ◂
you so far?                                                                                    Administrative                      ◂
These are some potential issues to identify and resolve if they apply to you:
• Larger Stomach: The Formula “shrinks” your available stomach space for most of the
  day. If your stomach is larger than average, a larger morning dose is required to
  achieve the gastric bypass effect.
• Look at your activity level: Have you been exercising less? Has the weather kept you
  inside and less active?
• Not Drinking Enough: This will make the Formula much less effective, for two
  reasons:
    1. The Formula needs to constantly absorb liquids – otherwise it will exit the
    stomach too quickly.
    2. The Formula is new to your body, and your brain may confuse thirst with
    hunger, causing you to overeat. In the stomach the formula absorbs water that
    usually would be absorbed into your body. If you do not drink extra water, you will
    become dehydrated and your brain will make you thirsty and sometimes hungry in
    order to make you consume more.

• Faster Digestion: If you have a fast digestive system and the Formula does not
  remain in your stomach the entire 10-16 hours, you must take a reinforcement dose
  later in the day.
• Improper Food Choices: You must not misuse the small stomach space available to
  you during the process. If you continue to eat calorie-rich foods, you will not be able to
  enter a state of calorie deficiency. Only low-calorie foods will enable you to lose
  weight.
• Old Habits: If you insist on eating as much food as you did before, or “finishing your
  plate” even after you are already full, you are overeating. This will actually stretch
  your stomach further and counteract the effects of the formula and you will not lose
  weight. To avoid this:
    1. Serve yourself according to your NEW stomach size – only half as much
    food as before will be more than sufficient.
    2. Eat very slowly, and take a 3-minute break after eating half of your new
    portion, so you will notice the signal from your brain that you are already full.



                                                                                                                          PX1-39
https://rocalabs.com/support/accelerated-weight-loss                                                                       12/4/2014
Improve Results - Roca Labs                                              Page 2 of 2
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     3. Be attuned to your new level of fullness. You should feel full twice as fast as
     before, and when you do, stop eating immediately. Achieving your new weight
     goal is far more important than taking a few more bites.

• Ignoring Instructions: It is very important to read and follow all instructions. It is
  not enough to simply take the Formula – you must customize the dosage size and
  frequency for your own needs, and modify certain other behaviors (e.g. drinking more
  water throughout the day, eating only low-calorie foods), as described in the
  instructions.
• Psychological Obstacles: Overeating can be the result of psychological issues that
  you may not even be aware of, but which can easily be overcome once you recognize
  them. The procedure can help you to lose weight, change your eating habits,
  overcome the constant urge for food, and make you look and feel good; but it alone
  cannot overcome psychological obstacles – these must be dealt with separately.
  Please take the time to read the following articles and see if they apply to you:
  • Emotional and Psychological Causes of Overeating
  • Overeating Causes
  • What’s Behind Compulsive Overeating?
  • Mental Health and Binge Eating Disorder
  • Emotional Overeating


                                                                0       Like     0      Tweet   0




*Results may vary. Results of other users may not be typical.
The site (or the procedure and the products) are not intended to provide medical advice and are not intended to diagnose, treat, cure, or prevent any disease. The
site has not been evaluated nor, based on requirements, have the products been tested by the Food and Drug Administration. None none of the statements on this
website should be viewed as such. Consult your doctor before beginning any weight loss program. Weight loss results may vary depending upon individual
characteristics and use. Before purchasing you should review Roca Labs, Inc.’s
Instructions, Suggested Use, Side Effects, Terms and Conditions.




                                            About us                                   Procedures                                  All the Answers
                                            Terms                                      Gastric Bypass Alternative®                 How much weight will I lose?
                                            Support                                    Gastric Bypass NO surgery®                  What is it?
                                            Privacy                                    Gastric Bypass Results®                     Is it safe if I...?
                                            Qualify & Order                            Gastric Bypass Effect®                      Am I qualified?
                                            Cost & insurance                           Natural Gastric Bypass®
                                                                                       Speedy Gastric Bypass™




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https://rocalabs.com/support/accelerated-weight-loss                                                                                                      12/4/2014
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                           Declaration of Amber Howe
                                 Attachment N


                          https://rocalabs.com/support/instructions
                          December 4, 2014
                          FTC-PROD-007191 to FTC-PROD-007195




                                                                        PX1-41
Suggested Use V2.5 - Roca Labs                                           Page 1 of 5
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                                           Support Answers                      ▼


               1. Prepare                                       Tip: Tasty dose
               Add room temperature water to the 350ml          The new Silica® has almost no taste. Though
               dotted line on the Activator cup. Add a          you should be determined to succeed and treat
               scoop of the Formula. Close immediately          the Silica® like a medicine, you can adjust the
               and shake vigorously to activate. Let the        taste with these two options:
               Silica  mixture form in the refrigerator for
                    ®
                                                                • Use a non-carbonated, non-dairy drink (like
               at least 1 hour. For best results, always have     cranberry juice) instead of water
               a dose prepared in the refrigerator to           • Add a drink mix, like, Crystal Light just before you add a
               consume in the morning.                            scoopful of the Formula




               2. Morning Dose                                  Tip: Avoid Side Effects
               As you wake up, decide on your                   Avoid the following: dairy (like, cheese or yogurt), sodas and any
               Silica  dosage for the day based on your
                    ®
                                                                carbonated beverages, oily and/or fatty foods (like, fried foods,
               weight loss goal. The more of the                fatty cuts of meat, butter etc.), which can cause a bloated
               Silica® mixture you consume, the smaller         stomach, gas or even diarrhea. Similar to gastric bypass patients,
               your stomach will be and the less food you       overeating or eating too quickly can cause side effects. Serve
               will be allowed to eat.                          yourself small food portions and chew thoroughly. Wait 1-2
               Eating as much of the Silica  as you can will
                                             ®
                                                                minutes between bites.
               limit your available stomach volume to
               merely 20% and will commit you to eating
               as little as 1,200 calories. During the first
               few days you will learn how much Silica® is
               needed for you to consume to achieve your
               desired stomach size.
               The fastest way to consume the formula
               is by swallowing each spoonful of the
               Silica® mixture along with drinking
               water. You may also “eat” it and drink
               water.




               3. Limited Food Portions                         Tip: Lasting Gastric Bypass Effect
               With limited stomach capacity you can, and       Drinking plenty of water throughout the day is
               should, eat very little. Serve yourself only a   imperative for an all-day gastric bypass effect.
               small portion of food, chew in length and        You should drink at least 6 bottles of 16oz.
               swallow the food VERY SLOWLY to avoid
               expansion of the stomach pouch.
               Overeating, or eating fast, can cause a
               bloated stomach, gas and stomach
               discomfort.




                                                                                                                     PX1-42
https://rocalabs.com/support/instructions                                                                              12/4/2014
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                   4. Reinforcement dose                              Tip: Take to Work
                   The Silica® should keep your stomach               A prepared dose of the Silica® mixture can be
                   “small” and limited the whole day. However,        taken to work, or even on vacation, and can be
                   some need a mini reinforcement dose 5-6            used within 24 hours if kept at or below room
                   hours before bedtime. It’s intended to             temperature. The prepared Silica® mixture is
                   prevent those late-night hunger attacks. It’s      good to use for up-to 5 days in the refrigerator.
                   best talk a small reinforcement dose when          Remember: for best results, always have doses of the Silica®
                   you arrive at home from work or an hour            mixture prepared in your home or work refrigerator.
                   before dinner.




                   5. Frequency                                       Tip: Shock Your Body Weight
                   The Silica® Gastric Bypass mixture has a           Your body and mind must understand
                   long-lasting effect, and therefore,                that the new you desires a much lower
                   consuming it 3-5 times a week should be            body weight. To prevent a situation
                   sufficient. Be attuned to your body to avoid       where you eat very little, but you’re not
                   overeating and to maintain your limited            losing enough weight, you must exercise
                   stomach volume. As you naturally eat less          30 to 60 minutes a day. Only exercise
                   on a daily basis, your use of the Silica®          will get your body into a weight loss
                   mixture should diminish over time.                 shocking mode and your weight loss will be accelerated
                                                                      significantly. Exercising puts the body into a fighter mode and the
                                                                      brain understands the need to carry much less fat.




                   6. Expectations                                    Goal on the Wall
                   You should expect to eat half from day one         Looking good, feeling good! On the
                   and the urge for snacks and sweets is              wall in your bedroom and/or the
                   reduced within 2-4 days. Water retention           kitchen, hang a pair pants or dress
                   might prevent you from seeing your weight          that’s one size smaller than your
                   loss in the first 10 days. The Silica® mixture     current size. You will now fight to
                   always creates a gastric bypass effect and         lose the weight and fit into that new
                   limits stomach volume. For the regimen to          size. When you fit comfortably into
                   succeed, you have to want to lose the              that size, you will continue to wear it
                   weight and you must overcome your                  and immediately hang on the wall another smaller size on the
                   psychological obstacles. Overeating with a         wall.
                   small stomach will stretch your stomach
                   and cause side effects.




  Shrinking Stomach
  During a 3 to 6 month regimen, you will find that your stomach is “shrinking” in capacity and you are naturally are eating smaller
  quantities of food and refraining from fatty, unhealthy foods. Your use of the Silica® mixture will be diminishing in frequency and
  dose quantity throughout the Shrinking Stomach®process.




                                                                                                                           PX1-43
https://rocalabs.com/support/instructions                                                                                   12/4/2014
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Roca Labs’ Regimen: Rules and Diet
Read this page frequently v1.0
While Suggested Use shows how to prepare a dose, and suggests best ways to maintain the gastric bypass effect, these Rulesand
Diet MUST BE FOLLOWED ENTIRELY while using the regimen, unless any rule compromises your health or is not approved by your
doctor, as stated in the Terms.


Limited Eating Interval™ between 11am and 8pm ONLY
You may choose any 9-hour interval for your daily food consumption. No deviation is allowed. Before 11am, you may have a healthy
snack limited to 100 calories. Between 8-10pm, you may snack on vegetables like carrots, celery or occasionally, low calorie popcorn.

The Limited Eating Interval™ conditions your body and mind to feel hunger satisfied while you burn existing fat during the no-food
period. Eating only during the 9-hour span is the most important rule and your chance of success will increase by 85%. This regimen
promotes stronger insulin sensitivity and increased growth hormone secretion, which are essential for weight loss and muscle gain
(instead of fat). It can also result in eliminating sugar and junk food cravings. Based on your insulin and leptin resistance, it might take
a couple of months for your trained body to be satisfied with healthy eating. Once successful, your glycogen depleted body has learned
to burn existing fat rather than crave immediate junk food. The Limited Eating Interval™ can increase insulin sensitivity and
mitochondrial energy efficiency. Your body will be reducing oxidative stress and inducing a cellular stress response, which can help you
cope with stress eating and can account for up-to an additional 8 lb weight loss a month.

Diabetic, pregnant and breastfeeding users should not follow this rule but create their own eating intervals with their physician. Seniors or any
person with medical condition should consult a doctor.


Serve yourself HALF and eat slowly
While on the regimen, your functional stomach volume is smaller and you only need half of your previous food consumption.
Overeating will result in side effects and expand your stomach pouch. To avoid being tempted to overeat, serve yourself only half of the
servings as before. If buying a meal, divide it before hand. Chew slowly, wait 1 minute between bites. Overeating or eating fast can cause
a bloated stomach, gas or diarrhea.


Minimize processed foods
Ready meals achieve their taste from extra salt, fat, sugar and chemicals and can trigger cravings.


One size down
Hang a size smaller of clothing in your bedroom or near the refrigerator. As soon as it fits, repeat the process. Picture and/or film your
success and destroy any larger sizes.


Fried and oily foods
To avoid side effects and to comply with the Roca Labs’ regimen, limit fried and oily foods to a small serving, once a week.


Drink water to prevent side effects




                                                                                                                                  PX1-44
https://rocalabs.com/support/instructions                                                                                            12/4/2014
Suggested Use V2.5 - Roca Labs                                           Page 4 of 5
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Your body needs water to process calories. If you are even mildly dehydrated, your metabolism may slow down. To maintain the gastric
bypass effect, drink at least six ½ liter bottles of water a day. If you feel light headed, consider you have over-drunk. Be attuned to your
body.


Exercise to shock your body
After losing about 35% of your excess body weight, you might find that losing weight becomes harder. Exercising will boost your
metabolism, lower insulin levels, trigger release of “good feeling” hormones and  improve your sex life. The Roca Labs’ regimen requires
that you exercise 5+ times a week. If necessary, start slowly and gradually increase to at least 30 minutes daily. Exercising regularly will
boost your mood, reduce stress, ward-off anxiety and feelings of depression, and will improve your sleep.


Video document your success and get up-to 50% Money Back
Record your weight each morning, naked, preferably after bowel movement. Once a week, video a clip outlining your achievements and
weight loss goal for the next 7 days. Show evidence of weight loss: fitting into a lower size clothing, mentioning number of pounds you
lost that week, share compliments you have received, tips from your success, etc. If you have not done well that week explain the reason
for your failure and what changes you’ll make in the coming week. You have 73% more chance to succeed when you visually document
your progress. Remember, you can be an inspiration to many others and you can receive Money Back (see page) for your success.


Limit caffeine to the very minimum
About an hour after having caffeine, insulin levels spike and cravings intensify. Cortisol also indirectly influences appetite by modulating
other hormones and stress responsive factors known to stimulate appetite.



                     Anti-Cravings® is Crucial                                             Suggested use
                     Anti-Cravings® should be taken twice-a-day                            A teaspoon size in any drink around lunch time
                     to regulate blood sugar levels to                                     and one in the evening to balance sugar levels
                     dramatically reduce cravings for those fatty,                         and decrease the urge for snacking, sweets or
                     high calorie foods.                                                   pastries. It can make a difference of 1-3 lbs a
                                                                                           week.




                     Blood sugar levels                                                    2,500 calories = cup size of fat
                                                                                           Fat is big in size relative to its weight. “A cup of
                                                                                           fat” is relatively big but it weighs 11 oz only.
                                                                                           Imagine that: more than a third of the size of a
                                                                                           Snickers bar will remain as fat in your body.




                                                          Know the Enemy

                                           3,500 calories = 1 lb of fat on your body
                                                                                               monthly
                                                      calories            frequency
                                                                                               fat gain


                                    fast food                                  2 per               3.1
                                      meal                                     week                 lbs
                                                         1,200 cal.




                                                                                                                                PX1-45
https://rocalabs.com/support/instructions                                                                                          12/4/2014
Suggested Use V2.5 - Roca Labs                                           Page 5 of 5
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                                                                                                                 monthly
                                                                calories              frequency
                                                                                                                 fat gain

                                          chocolate                                         5 per                  0.5
                                              bar                                          month                     lbs
                                                                    270 cal.



                                             soda
                                                                                            2 per                  2.4
                                                                                                day                  lbs
                                                                    140 cal.



                                            bacon
                                                                                            2 per                  1.5
                                                                                            week                     lbs
                                                                    611 cal.



                                           cheese
                                                                                            2 per                  1.3
                                                                                            week                     lbs
                                                                    532 cal.


                                          2 chicken                                         3 per                    1
                                           breasts                                          week                     lbs
                                                                    284 cal.


                                            french                                          2 per                  1.3
                                             fries                                          week                     lbs
                                                                    500 cal.


                                                                0        Like    19     Tweet    0




*Results may vary. Results of other users may not be typical.
The site (or the procedure and the products) are not intended to provide medical advice and are not intended to diagnose, treat, cure, or prevent any disease. The
site has not been evaluated nor, based on requirements, have the products been tested by the Food and Drug Administration. None none of the statements on this
website should be viewed as such. Consult your doctor before beginning any weight loss program. Weight loss results may vary depending upon individual
characteristics and use. Before purchasing you should review Roca Labs, Inc.’s
Instructions, Suggested Use, Side Effects, Terms and Conditions.




                                            About us                                   Procedures                                  All the Answers
                                            Terms                                      Gastric Bypass Alternative®                 How much weight will I lose?
                                            Support                                    Gastric Bypass NO surgery®                  What is it?
                                            Privacy                                    Gastric Bypass Results®                     Is it safe if I...?
                                            Qualify & Order                            Gastric Bypass Effect®                      Am I qualified?
                                            Cost & insurance                           Natural Gastric Bypass®
                                                                                       Speedy Gastric Bypass™




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                                                                                                                                                                   




                                                                                                                                                         PX1-46
https://rocalabs.com/support/instructions                                                                                                                 12/4/2014
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 48 of 93 PageID 8142




                           Declaration of Amber Howe
                                 Attachment O


                          http://old.rocalabs.com/compared-to/best-diet-pills/
                          March 23, 2015
                          FTC-PROD-006487 to FTC-PROD-006488




                                                                             PX1-47
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | Diet Pills Vs. Roca Labs® Formula
                 8:15-cv-02231-MSS-CPT      Document 210-2 Filed 04/26/18 Page 49 of 93 PageID 8143
        Gas t r i c  B y p as s  NO Su r g er y




    The best diet pills were compared to the Roca
    Labs Formula. The Formula is safer and more
               ®  




    effective than diet pills.
    Diet pills contain harmful chemicals and can have serious, even life­
    threatening side effects. They usually work by chemically suppressing
    your appetite or interfering with digestion, and have been known to
    cause complications ranging from stomach pains and gas to high blood
    pressure and strokes.

    Roca Labs  Natural Gastric Bypass Formula’s ingredients are 100%
                     ®



    natural, and it works to physically fill your stomach – just like the food
    that you would have eaten instead. There are some minor potential side
    effects, but they are generally preventable if you drink enough water and
    let yourself adjust gradually to the high amount of healthy fiber in the
    Formula.




                     01:12


                                                         Leave a message



                                                                                          FTC-PROD-006487
                         Search                        Visit our friends!         Terms of Visiting This Site
                                                                                                 PX1-48
http://old.rocalabs.com/compared-to/best-diet-pills/                                                              1/2
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | Diet Pills Vs. Roca Labs® Formula
                 8:15-cv-02231-MSS-CPT      Document 210-2 Filed 04/26/18 Page 50 of 93 PageID 8144
                                           A few highly recommended                                *RESULTS MAY VARY
                                                                                      In compliance with FDA regulations, the
                                                       friends...                     site (or the procedure and the products)
                                                                                      are not intended to provide medical
                                                                                      advice, diagnosis or treatment and not
                                                                                      intended to diagnose, treat, cure, or
                                                                                      prevent any disease and have not been
                                                                                      evaluated or tested by the Food and Drug
                                                                                      Administration and none of the statements
                                                                                      should be viewed as such. Consult your
                                                                                      doctor before beginning any weight loss
                                                                                      program. Weight loss results may vary
                                                                                      depending upon individual characteristics
                                                                                      use. Before purchasing you should
                                                                                      review Instructions, Suggested
                                                                                      Use, Side Effects , Terms and
                                                                                      Conditions .
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     Important
    Gastric Bypass Surgery Cost
    Gastric Bypass Surgery Alternative
    Lap Band Surgery Alternative
    Gastric Sleeve Surgery Alternative
    Roux-en-Y Alternative
    Gastroplasty Alternative
    Bariatric Surgery Alternative
    Liposuction / Tummy Tuck Alternative




                                                                                                FTC-PROD-006488


                                                                                                            PX1-49
http://old.rocalabs.com/compared-to/best-diet-pills/                                                                              2/2
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 51 of 93 PageID 8145




                           Declaration of Amber Howe
                                 Attachment P


                    http://old.rocalabs.com/weight-loss-procedure/for-teens-kids
                    March 23, 2015
                    FTC-PROD-006512 to FTC-PROD-006514




                                                                            PX1-50
3/23/2015
       Case     8:15-cv-02231-MSS-CPTRoca Labs® Gastric Bypass NO surgery® $480 | For Teens/Kids
                                        Document 210-2 Filed 04/26/18 Page 52 of 93 PageID 8146

        Gas t r i c  B y p as s  NO Su r g er y




               4 Weight Loss Solutions for Teens / Kids



                                        choose health condition over number of lbs to lose

    Roca Labs was invented as a gastric bypass surgery alternative
      for morbidly obese people. As other people struggling with
    their weight and related issues discovered the surgery strength
                 Formula, new solutions were created.

                                                  Men              Women         Youth


    Teen Girls (13­19)                                                 Girls (8­13)
                                                                Roca                                             We live
                                                                                                                 in a
                                                                                                                 society
                                                                                                                 where
                                                                                                                 it’s
                                                                                                                 improper
                                                                                                                  to say
                                                                                                                  out loud
                                                                                                                  that
    Labs® Formula is for teens looking to control their                obesity or fat is bad, but most people think it
    appetite, eat less and lose weight immediately.                    anyway. Whether we like it or not, our weight and
    Roca Labs® is probably the strongest non-                                        FTC-PROD-006512
                                                        appearance have an effect on our social life and
                                               Leave a message
    prescription weight loss method available,
                                                        relationships. Walking with all of these ugly fat has
http://old.rocalabs.com/weight-loss-procedure/for-teens-kids/                                               PX1-51           1/3
3/23/2015
       Case     8:15-cv-02231-MSS-CPTRoca Labs® Gastric Bypass NO surgery® $480 | For Teens/Kids
                                        Document 210-2 Filed 04/26/18 Page 53 of 93 PageID 8147
    replacing the expensive and complicated gastric                          to stop or you will find yourself undergoing the
    bypass surgery. More...                                                  dangerous gastric bypass surgery or developing a
                                                                             disease related to the excess fat. More...




    Teen Boys (13­19)                                                        Boys (8­13)
                                                                This is it                                                  Boys
                                                                - enough                                                    should
                                                                is                                                          fight
                                                                enough!
                                                                This fat
                                                                affects
                                                                your
                                                                health,
                                                                your
    look and your self-esteem. Walking with all of                           overweight problem now! It's bad for the health,

    these ugly fat has to stop or you will find yourself                     not acceptable socially, and disturbs academic
    undergoing the dangerous gastric bypass surgery                          performace. More...

    or developing a disease related to the excess fat.
    More...




                        Search                              Visit our friends!                  Terms of Visiting This
                                                                                                Site
                                                          A few highly recommended
                                                          friends...                             *RESULTS MAY VARY
                                                                                                 In compliance with FDA regulations,
                                                                                                 the site (or the procedure and the
                                                                                                 products) are not intended to provide
                                                                                                 medical advice, diagnosis or
                                                                                                 treatment and not intended to
                                                                                                 diagnose, treat, cure, or prevent any
                                                                                                 disease and have not been evaluated
                                                                                                 or tested by the Food and Drug
                                                                                                 Administration and none of the
                                                                                                 statements should be viewed as
                                                                                                 such. Consult your doctor before
                                                                                                 beginning any weight loss program.
                                                                                                 Weight loss results may vary
                                                                                                 depending upon individual
                                                                                                 characteristics use. Before
                                                                                                 purchasing you should review
                                                                                                 Instructions, Suggested
                                                                                                 Use, Side Effects , Terms
                                                                                                 and Conditions .
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http://old.rocalabs.com/weight-loss-procedure/for-teens-kids/                                                        PX1-52              2/3
3/23/2015
       Case     8:15-cv-02231-MSS-CPTRoca Labs® Gastric Bypass NO surgery® $480 | For Teens/Kids
                                        Document 210-2 Filed 04/26/18 Page 54 of 93 PageID 8148


     Important
    Gastric Bypass Surgery Cost
    Gastric Bypass Surgery Alternative
    Lap Band Surgery Alternative
    Gastric Sleeve Surgery Alternative
    Roux-en-Y Alternative
    Gastroplasty Alternative
    Bariatric Surgery Alternative
    Liposuction / Tummy Tuck Alternative




                                                                              FTC-PROD-006514


                                                                                     PX1-53
http://old.rocalabs.com/weight-loss-procedure/for-teens-kids/                                      3/3
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 55 of 93 PageID 8149




                           Declaration of Amber Howe
                                 Attachment Q


              http://old.rocalabs.com/answers/ask-the-doctor/faq/90-success-rate/
              March 23, 2015
              FTC-PROD-006572 to FTC-PROD-006574




                                                                            PX1-54
3/23/2015
       Case                         Roca Labs® Gastric Bypass NO surgery® $480 | High Success Rate
                8:15-cv-02231-MSS-CPT   Document 210-2 Filed 04/26/18 Page 56 of 93 PageID 8150
        Gas t r i c  B y p as s  NO Su r g er y




    Roca Labs  Formula Practically Forces
                                ®



    You to Eat HALF
    The Formula has already been in use in Europe for the past 6 years, and is
    scientifically proven to have a very high success rate. It will always
    achieve a gastric bypass effect by PHYSICALLY occupying your stomach,
    leaving only a small, limited stomach volume available for 10­16 hours
    during the day. With a smaller stomach size you will practically be forced to
    eat HALF , and can spare your body as much as 2,000 unnecessary
    calories a day without hunger – that equals 17 lbs. per month!




                     01:02




    Reaching your weight loss goal is only a matter of carefully following all
    instructions, and adjusting the dosage and frequency to meet your
    individual needs. The Formula is customizable: you decide how much to
    take and when, and you control how much of your stomach is available
                                           Leave a message
    for food intake at any time. The power to succeed is in YOUR hands!

             Want a STRONGER dose? Simply use a larger dose in the
             morning. You can choose whether to take a Light , Regular or           FTC-PROD-006572
             Large dose.

                                                                                           PX1-55
http://old.rocalabs.com/answers/ask-the-doctor/faq/90-success-rate/                                   1/3
3/23/2015
       Case   8:15-cv-02231-MSS-CPT     Roca Labs® Gastric Bypass NO surgery® $480 | High Success Rate
                                            Document 210-2 Filed 04/26/18 Page 57 of 93 PageID 8151
             Want it the dose to last LONGER? Simply take a Reinforcement
             Dose (Basic Kit) or Reinforcement Pill (Advanced Kit) in the
             afternoon or evening. Doing this regularly will greatly increase your
             success.


    Want to Accelerate Your Weight Loss?
    Try some simple daily exercises, such as light weightlifting in the
    morning, 10 minutes of push­ups and/or crunches or 30­60 minutes of
    aerobics in the evening (this is also good for your mental health). Do it
    together with a friend so it will become a fun routine. Physical activity will
    accelerate your metabolism and calorie deficiency, and lead to a much
    greater weight loss.


    Obstacles to Success
    Please note that 28% of users do not immediately succeed due to
    improper use. But after reviewing and following all of the instructions,
    about 60% of users are able to succeed well. The other 40% (comprising
    10% of all users) are held back by psychological obstacles, which can
    make the Formula less effective.

    For example, someone with a binge eating disorder regularly eats well past
    the point of fullness in order to cope with sadness, anger, or stress, and
    will continue to do this even with the Formula. Roca Labs  Formula works   ®




    on a physical level to block the stomach and eliminate sugar cravings, but
    psychological issues must be addressed separately. However, such
    obstacles can often be resolved simply by recognizing them in one’s daily
    behavior. You can read more about this subject here.

    Success is now limited by your MIND
    ONLY™

                       Search                             Visit our friends!        Terms of Visiting This Site

                                                         A few highly recommended    *RESULTS MAY VARY
                                                                                     In compliance with FDA regulations, the
                                                         friends...                  site (or the procedure and the products)
                                                                                     are not intended to provide medical
                                                                                     advice, diagnosis or treatment and not
                                                                                     intended to diagnose, treat, cure, or
                                                                                                  FTC-PROD-006573
                                                                                     prevent any disease and have not been
                                                                                     evaluated or tested by the Food and Drug
                                                                                     Administration and none of the statements
                                                                                     should be viewed as such. Consult your
http://old.rocalabs.com/answers/ask-the-doctor/faq/90-success-rate/                                                              2/3
                                                                                                           PX1-56
3/23/2015
       Case                         Roca Labs® Gastric Bypass NO surgery® $480 | High Success Rate
                8:15-cv-02231-MSS-CPT   Document 210-2 Filed 04/26/18 Page 58 of 93 PageID 8152
                                                                         doctor before beginning any weight loss
                                                                         program. Weight loss results may vary
                                                                         depending upon individual characteristics
                                                                         use. Before purchasing you should
                                                                         review Instructions, Suggested
                                                                         Use, Side Effects , Terms and
                                                                         Conditions .
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    Important
    Gastric Bypass Surgery Cost
    Gastric Bypass Surgery Alternative
    Lap Band Surgery Alternative
    Gastric Sleeve Surgery Alternative
    Roux-en-Y Alternative
    Gastroplasty Alternative
    Bariatric Surgery Alternative
    Liposuction / Tummy Tuck Alternative




                                                                                    FTC-PROD-006574


                                                                                               PX1-57
http://old.rocalabs.com/answers/ask-the-doctor/faq/90-success-rate/                                                  3/3
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 59 of 93 PageID 8153




                             Declaration of Amber Howe
                                   Attachment R


         http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/
         March 23, 2015
         FTC-PROD-006575 to FTC-PROD-006583




                                                                              PX1-58
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
                8:15-cv-02231-MSS-CPT     Document 210-2 Filed 04/26/18 Page 60 of 93 PageID 8154
        Gas t r i c  B y p as s  NO Su r g er y




    Weight Loss Calculator
    World’s most advanced weight loss calculator and BMI chart  (pounds &
    kilos)

    How much weight should I lose?  How fast can I lose my excess weight?
    What is a healthy, maintainable weight loss rate? What is my ideal body
    weight ?

    What is the best weight loss solution for me?

      Women                                       Youth                      Men

      100+ lbs to lose (45kg+)                   boys (8-13 yrs)              100+ lbs to lose (45kg+)

      35-100 lbs to lose (15-45kg)               girls (8-13 yrs)            35-100 lbs to lose (15-
                                                                             45kg)

      20-35+ lbs to lose (9-15kg+)               teen female (13-19          20-35+ lbs to lose (9-
                                                yrs)                         15kg+)

      diabetes weight reduction                  teen male (13-19             diabetes weight reduction
                                                yrs)

      pregnancy weight
      management




     Weight Loss Begins Immediately
    An advanced solution: when you take the Roca Labs® Formula, from day
    one, you practically eat HALF the amount you normally do and begin
    losing weight immediately. The Formula creates a gastric bypass effect
    in your stomach which leaves only a small, limited stomach volume
                                          Leave a message
    available. The Formula forces you to eat smaller quantities of food without
    feeling hungry. In addition, the unique, natural ingredient β-Glucan®
    balances your blood sugar levels and eliminates cravings for snacks. You
                                                                                                          FTC-PROD-006575
    eat fewer calories but burn more calories, entering a state of calorie
    deficiency . For every 250 unnecessary calories you avoid eating, you
                                                                                                                 PX1-59
http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                                  1/9
3/23/2015
       Case                  Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
            8:15-cv-02231-MSS-CPT     Document 210-2 Filed 04/26/18 Page 61 of 93 PageID 8155
    lose one ounce of fat.




    Lose Weight at a Healthy Rate
    Since the Formula is customizable and controllable, it is actually possible
    to use too much Formula and lose weight at an unhealthy pace. Roca
    Labs® doctors recommend a steady weight loss rate of no more than 12-16
    lbs. a month. Unless you have a medical condition or your doctor instructs
    you differently, the time table below is recommended for healthy, long­
    lasting weight loss over a 10.5 month period. Since proper use of the
    Formula will leave you with a “smaller stomach size,” you can eat less and
    continue losing weight even after you stop using the Formula after 4­6
    months.

      Week                     Body weight lost                                  Body weight lost
                                   (each stage)                                    (accumulated)*

         1-4                             5%                                                5%

        5-10                             7%                                               12%

       11-16                             8%                                               20%

       17-24                            10%                                               30%

       25-34                            12%                                               42%

       35-42                             8%                                               50%

    * Results vary dramatically based on commitment to the procedure and other accelerator activities




    So, how much will you lose in a month if you eat                                                    FTC-PROD-006576
    HALF with almost NO snacks or sweets?
                                                                                                               PX1-60
http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                                2/9
3/23/2015
       Case 8:15-cv-02231-MSS-CPT  Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
                                            Document 210-2 Filed 04/26/18 Page 62 of 93 PageID 8156
    Individual results will vary. Many users eat 2,000 fewer calories a day,
    which equals to 17 lbs. a month. Some may lose 10 lbs. a month, and
    others up to 20 lbs. Your own weight loss rate will depend on factors such
    as your metabolism, weight, daily food intake prior to Roca Labs®, food
    intake while taking the Formula and physical activity. In order to meet your
    individual needs, the Formula is designed to be customizable: you
    choose the dosage size and frequency that is best for you. Roca Labs’®
    team of doctors recommends that you lose weight at a slow and steady
    pace, so you can make a real life change – reach your weight loss goal a
    month or two later, and make it last.




                     01:18




    Want to Accelerate Your Weight Loss?
    Try some simple daily exercises, such as light weightlifting in the
    morning, 10 minutes of push­ups and/or crunches or 30­60 minutes of
    aerobics in the evening (this will also benefit your mental health). Do it
    together with a friend so it will become a fun routine. Physical activity will
    accelerate your metabolism and calorie deficiency, and lead to a much
    greater weight loss.




                                                                                       FTC-PROD-006577


                                                                                               PX1-61
http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                     3/9
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
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                                                                                      FTC-PROD-006578


                                                                                              PX1-62
http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                   4/9
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
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                                                                                      FTC-PROD-006579


                                                                                              PX1-63
http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                   5/9
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
                8:15-cv-02231-MSS-CPT     Document 210-2 Filed 04/26/18 Page 65 of 93 PageID 8159




                                                                                      FTC-PROD-006580


                                                                                              PX1-64
http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                   6/9
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
                8:15-cv-02231-MSS-CPT     Document 210-2 Filed 04/26/18 Page 66 of 93 PageID 8160




         You can use the weight loss calculator or BMI
             chart to find your ideal body weight




                                                                                      FTC-PROD-006581


                                                                                              PX1-65
http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                   7/9
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
                8:15-cv-02231-MSS-CPT     Document 210-2 Filed 04/26/18 Page 67 of 93 PageID 8161




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                                                         A few highly recommended   *RESULTS MAY VARY
                                                                                    In compliance with FDA regulations, the
                                                         friends...                 site (or the procedure and the products)
                                                                                    are not intended to provide medical
                                                                                    advice, diagnosis or treatment and not
                                                                                    intended to diagnose, treat, cure, or
                                                                                                 FTC-PROD-006582
                                                                                    prevent any disease and have not been
                                                                                    evaluated or tested by the Food and Drug
                                                                                    Administration and none of the statements
                                                                                    should be viewed as such. Consult your

http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                 PX1-66               8/9
3/23/2015
       Case                      Roca Labs® Gastric Bypass NO surgery® $480 | How Much Weight Will I Lose?
                8:15-cv-02231-MSS-CPT     Document 210-2 Filed 04/26/18 Page 68 of 93 PageID 8162
                                                                               doctor before beginning any weight loss
                                                                               program. Weight loss results may vary
                                                                               depending upon individual characteristics
                                                                               use. Before purchasing you should
                                                                               review Instructions, Suggested
                                                                               Use, Side Effects , Terms and
                                                                               Conditions .
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     Important
    Gastric Bypass Surgery Cost
    Gastric Bypass Surgery Alternative
    Lap Band Surgery Alternative
    Gastric Sleeve Surgery Alternative
    Roux-en-Y Alternative
    Gastroplasty Alternative
    Bariatric Surgery Alternative
    Liposuction / Tummy Tuck Alternative




                                                                                          FTC-PROD-006583


                                                                                                     PX1-67
http://old.rocalabs.com/answers/ask-the-doctor/faq/weight-loss-calculator/                                                 9/9
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 69 of 93 PageID 8163




                           Declaration of Amber Howe
                                 Attachment S


              http://old.rocalabs.com/weight-loss-procedure/for-men
              March 23, 2015
              FTC-PROD-006632 to FTC-PROD-006634




                                                                        PX1-68
3/23/2015
       Case                            Roca Labs® Gastric Bypass NO surgery® $480 | Men
                8:15-cv-02231-MSS-CPT Document     210-2 Filed 04/26/18 Page 70 of 93 PageID 8164

        Gas t r i c  B y p as s  NO Su r g er y




             6 Extreme Weight Loss Solutions for Men



                                        choose health condition over number of lbs to lose

    Roca Labs was invented as a gastric bypass surgery alternative
      for morbidly obese people. As other people struggling with
    their weight and related issues discovered the surgery strength
                 Formula, new solutions were created.

                                                 Men         Women             Youth



    100+ lbs to Lose for men (50+                                     Diabetic Men
    kg)
                                                                                                            This is
                                                                                                            your
                                                         This is it
                                                         -
                                                         enough
                                                         is




                                                                      chance to improve your health and look! Roca
                                                           Labs' Formula has many great health benefits
    enough! The fat affects your health, looks, self                                    FTC-PROD-006632
                                                           which those weight loss surgeries do not offer.
                                                  Leave a message
    esteem and... sexuality. Walking with all that ugly
                                                           This ugly fat effects your health, your look, your
    fat has to stop or you will find yourself undergoing
                                                                                                        PX1-69
http://old.rocalabs.com/weight-loss-procedure/for-men/                                                                1/3
3/23/2015
       Case                            Roca Labs® Gastric Bypass NO surgery® $480 | Men
                8:15-cv-02231-MSS-CPT Document     210-2 Filed 04/26/18 Page 71 of 93 PageID 8165
    the dangerous gastric bypass surgery or                          self esteem and sexuality. Results are quite fast.
    developing a weight related diseases. More...                    More...




    50­100 lbs to lose for men                                       Senior
    (23­49 kg)
                                                                                                                  Carrying

                                                         Your
                                                         weight is
                                                         not




                                                                     that extra weight is bad for your health make
                                                                     you look bad. You can gain years of life when you
    healthy and you may become severely obese.
                                                                     lose the ugly fat. Roca Labs Formula is better,
    You need a strong solution, but first, you must
                                                                     safer and cheaper than any weight loss surgery.
    make a commitment to changing your life. Don’t
                                                                     It's non surgical and it's the best weight
    you want to feel & look good, buy regular sized
                                                                     reduction for senior men. More...
    clothing and improve sexuality?   More...




    20­50 lbs to Lose for men (9­                                    Fast Results / Weight Loss for
    22 kg)                                                           Grooms
                                                           You                                                    She is
                                                           are                                                    going to
                                                           not                                                    look
                                                           really                                                 good.
                                                           fat but                                                You
                                                           you                                                    want to
                                                can                                                             surprise.
                                                look                                                            You
                                                better                                                          need a
                                                and                  fast, strong and effective solution - like the
    improve your health and... sexuality. Roca Labs                  surgery. It will stop your cravings and help
    Formula is a strong solution to help you overcome                you use the wedding anxiety to lose weight fast,
    also day/night cravings. More...                                 instead of gaining it. More...

                                                                                                      FTC-PROD-006633


                                                                                                             PX1-70
http://old.rocalabs.com/weight-loss-procedure/for-men/                                                                       2/3
3/23/2015
       Case                            Roca Labs® Gastric Bypass NO surgery® $480 | Men
                8:15-cv-02231-MSS-CPT Document     210-2 Filed 04/26/18 Page 72 of 93 PageID 8166
                        Search                            Visit our friends!        Terms of Visiting This
                                                                                    Site
                                                         A few highly recommended
                                                         friends...                 *RESULTS MAY VARY
                                                                                    In compliance with FDA regulations,
                                                                                    the site (or the procedure and the
                                                                                    products) are not intended to provide
                                                                                    medical advice, diagnosis or
                                                                                    treatment and not intended to
                                                                                    diagnose, treat, cure, or prevent any
                                                                                    disease and have not been evaluated
                                                                                    or tested by the Food and Drug
                                                                                    Administration and none of the
                                                                                    statements should be viewed as
                                                                                    such. Consult your doctor before
                                                                                    beginning any weight loss program.
                                                                                    Weight loss results may vary
                                                                                    depending upon individual
                                                                                    characteristics use. Before
                                                                                    purchasing you should review
                                                                                    Instructions, Suggested
                                                                                    Use, Side Effects , Terms
                                                                                    and Conditions .
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     Important
    Gastric Bypass Surgery Cost
    Gastric Bypass Surgery Alternative
    Lap Band Surgery Alternative
    Gastric Sleeve Surgery Alternative
    Roux-en-Y Alternative
    Gastroplasty Alternative
    Bariatric Surgery Alternative
    Liposuction / Tummy Tuck Alternative




                                                                                             FTC-PROD-006634


                                                                                                        PX1-71
http://old.rocalabs.com/weight-loss-procedure/for-men/                                                                      3/3
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 73 of 93 PageID 8167




                           Declaration of Amber Howe
                                 Attachment T


              http://old.rocalabs.com/support/success/money-back-success-belt/
              March 23, 2015
              FTC-PROD-006665 to FTC-PROD-006668




                                                                           PX1-72
3/23/2015
       Case                       Roca Labs® Gastric Bypass NO surgery® $480 | Money Back – Success Belt
                8:15-cv-02231-MSS-CPT     Document 210-2 Filed 04/26/18 Page 74 of 93 PageID 8168
       Gas t r i c  B y p as s  NO Su r g er y



                                                                                    Categories

                                                                                    About the formula
                                                                                    Weight loss blogs

                                                                                    Archives

                                                                                    December 2012
    Money back for your true success story                                          November 2012
    Roca Labs  rewards success: Document your progress on video with
                    ®                                                               December 2011
                                                                                    November 2011
    480p quality with good lighting and a clear demonstration of your weight
                                                                                    February 2011
    loss progressing all the way from your starting weight to achieving your
                                                                                    January 2011
    weight goal loss. Demonstrate your weight loss with smaller size clothing,
                                                                                    December 2010
    using the enclosed Success Belt or show your body in a clear convincing
    way. When your documentary video is done correctly as described below,          Calendar
    you will receive 50% money back within 5 days.
                                                                                                  March  2015
    The marketing department, in charge of this program, LOVES giving                M     T     The   T    F    S
    money to successful users. If your video is not of good quality or
    convincing enough but we think that you have truly succeeded achieving           2     3     4     5    6    7
    your weight loss goal, you will get only a portion of that 50% money back.
                                                                                     9    10     11    12   13   14
    Want to get 100% money back or even more? Want to receive a trip to             16    17     18    19   20   21
    Disney World in Florida and shoot here your success video? Submit an
                                                                                    23    24     25    26   27   28
    INSPIRING set of quality videos CLEARLY demonstrating your weight
                                                                                    30    31
    loss, gain of confidence, compliments from friends and family and moving
    into regular size clothing. Inspire others to a better healthy life and you          « Dec

    shall be rewarded.                                                              Where

    Note: this offer is in Roca Labs’s discretion. When paid, the rights for the    Log in
    video belong to Roca Labs.                                                      Entries (RSS)




                                                                                     FTC-PROD-006665


                                                                                                 PX1-73
http://old.rocalabs.com/support/success/money-back-success-belt/                                                 1/4
3/23/2015
       Case                       Roca Labs® Gastric Bypass NO surgery® $480 | Money Back – Success Belt
                8:15-cv-02231-MSS-CPT     Document 210-2 Filed 04/26/18 Page 75 of 93 PageID 8169




                    01:12




    Recipe for Success Video
    2­3 min about your eating problems, how obesity disturbs you and your
    weight loss goal.

    2­4 min of how you are using the Roca Labs Formula and your tips to
    others.

    To get this reward, film yourself now, during and after you’ve reached
    your goal. In a 5­10 minute video, talk about your past eating problems,
    the ease of using the Formula, how much weight you’ve lost and how
    your life has changed. You can tell us about improvements in your health,
    self­esteem, relationships and love life, and even compliments you’ve
    received about your new look. Your video must be real, convincing and of
    good quality Video must include full body shots of beginning and ending
    weight.

    Videos that are truly inspirational and of good quality may even receive up
    to 100% money back with a total weight loss of 100+ lbs.

    Remember that your health is of the utmost importance to us. We want
    you to lose weight, but it must be done in a healthy way. Knowing
    that you’ve changed your eating habits for life is more important to us
    than the number of pounds you’ve lost, or how quickly you lost them.


    Return Policy (No failure accepted)

                                                                                     FTC-PROD-006666


                                                                                            PX1-74
http://old.rocalabs.com/support/success/money-back-success-belt/                                           2/4
3/23/2015
       Case                   Roca Labs® Gastric Bypass NO surgery® $480 | Money Back – Success Belt
          8:15-cv-02231-MSS-CPT       Document 210-2 Filed 04/26/18 Page 76 of 93 PageID 8170
    The ONLY way to get money back is to SUCCEED. Roca Labs does not
    reward failure and there are no returns whatsoever (similar to a gastric
    bypass surgery). Think carefully if you are truly committed to the process
    before qualifying & ordering. The Formula does not require a doctor’s
    prescription, but the return policy is similar to that stated by the FDA for
    prescription drugs.

    Further policy and fees described in here

    Roca Labs® “truth in your face” approach will help your goal even further:
    there is NO money back for failure but there is a lot of money for success,
    YOUR SUCCESS.




                    00:36




    Other Things You Should Know
    Please be aware that orders are shipped EXACTLY to the address
    provided by the customer on the Qualification Form. It is not edited in
    ANY way. Therefore, you are responsible to provide the correct address.
    Roca Labs is working hard to ship packages as quickly as possible. We
    trust our customers, and ship the entire kit once the first payment is
    received.

    In such instances where the package was shipped to the address
    provided, and was returned back to us, a reship fee of $40 will be applied 
    ($80 if shipping internationally).

    If your package is UNCLAIMED or REFUSED and returned to us, please
    know that you are still responsible for payment. We will reship for $40        FTC-PROD-006667

    ($80 if shipping internationally).
                                                                                          PX1-75
http://old.rocalabs.com/support/success/money-back-success-belt/                                       3/4
3/23/2015
       Case8:15-cv-02231-MSS-CPTRoca Labs® Gastric Bypass NO surgery® $480 | Money Back – Success Belt
                                        Document 210-2 Filed 04/26/18 Page 77 of 93 PageID 8171
    Once the package is received by the Roca Labs Shipping Dept., we will
    attempt to reach you via the email address provided on Qualification Form
    and also by phone. If we are unsuccessful after 14 days, your formula will
    be discarded. Shipping again after the 14 day waiting period will be done
    only after customer pays $100 manufacturing fee for the production of the
    2nd Kit.




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                                                       A few highly recommended   *RESULTS MAY VARY
                                                                                  In compliance with FDA regulations, the
                                                       friends...                 site (or the procedure and the products)
                                                                                  are not intended to provide medical
                                                                                  advice, diagnosis or treatment and not
                                                                                  intended to diagnose, treat, cure, or
                                                                                  prevent any disease and have not been
                                                                                  evaluated or tested by the Food and
                                                                                  Drug Administration and none of the
                                                                                  statements should be viewed as such.
                                                                                  Consult your doctor before beginning any
                                                                                  weight loss program. Weight loss results
                                                                                  may vary depending upon individual
                                                                                  characteristics use. Before purchasing
                                                                                  you should review Instructions,
                                                                                  Suggested Use, Side Effects ,
                                                                                  Terms and Conditions .
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    Important
    Gastric Bypass Surgery Cost
    Gastric Bypass Surgery Alternative
    Lap Band Surgery Alternative
    Gastric Sleeve Surgery Alternative
    Roux-en-Y Alternative
    Gastroplasty Alternative
    Bariatric Surgery Alternative
    Liposuction / Tummy Tuck Alternative




                                                                                            FTC-PROD-006668


                                                                                                       PX1-76
http://old.rocalabs.com/support/success/money-back-success-belt/                                                             4/4
Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 78 of 93 PageID 8172




                             Declaration of Amber Howe
                                   Attachment U


         http://old.rocalabs.com/answers/ask-the-doctor/faq/no-diet-restrictions/
         March 23, 2015
         FTC-PROD-006672 to FTC-PROD-006674




                                                                               PX1-77
3/23/2015
       Case                       Roca Labs® Gastric Bypass NO surgery® $480 | No Menus, No Diet Restrictions
                 8:15-cv-02231-MSS-CPT      Document 210-2 Filed 04/26/18 Page 79 of 93 PageID 8173
        Gas t r i c  B y p as s  NO Su r g er y




    No Menus, No Diet Restrictions
    Unlike weight loss pills or diet programs, Roca Labs® Formula does not
    require a strict menu or calorie restrictions. It practically FORCES you
    to eat HALF  the food you ate before, so you will automatically lose weight
    without having to keep track of every calorie you consume.

    Each day you use the Formula, it creates a gastric bypass effect in your
    stomach that leaves only a small, limited stomach space available for food
    intake. It PHYSICALLY LIMITS how much you can eat. You’ll feel satisfied
    after eating just half a portion – or even as little as a few bites. Your
    stomach has neither the need nor the space for more food. You’ll find
    yourself eating far less than before.




    Avoiding the Diet Trap
                                             Leave a message
    Diets often fail for one simple reason: people can’t stick to them! They
    force us to refrain from foods that we can’t help but want and sooner or
    later, many people give in to the temptation. And once you’ve given in a
                                                                                         FTC-PROD-006672
    little, it’s easy to feel defeated and rationalize breaking the diet rules again
    and again, eating little bites of whatever you want, here and there.
                                                                                                 PX1-78
http://old.rocalabs.com/answers/ask-the-doctor/faq/no-diet-restrictions/                                        1/3
3/23/2015
       Case                    Roca Labs® Gastric Bypass NO surgery® $480 | No Menus, No Diet Restrictions
           8:15-cv-02231-MSS-CPT         Document 210-2 Filed 04/26/18 Page 80 of 93 PageID 8174
    One reason the Formula is so successful is that you can continue to eat
    what you like, and without tracking everything you put in your mouth. You
    can still have a slice of chocolate cake or a bowl of ice cream, but with the
    gastric bypass effect, you’ll feel satisfied before you even finish it. You’ll
    eat the foods you want, but in smaller portions.

    Also unlike diet programs, the Formula contains a unique, natural
    ingredient called β-Glucan®, which balances your blood sugar level and
    fights your cravings. With your urges for sweets and snacks almost
    eliminated, you’ll eat healthier without it being a challenge.

    Since you are now eating significantly less, Roca Labs® team of doctors
    strongly recommends that you consume nutritious food, which is low in
    calories and supplemented with vitamins. Adding exercise will greatly
    accelerate  your weight loss and improve your general health.


    Counting Calories Doesn’t Force You to Eat Less
    Calorie counting works for some people, but a major downside is that by
    itself, it does nothing to force you to eat less. All it can do is help track what
    you eat; at the same time you have the same hunger and the same
    cravings. With Roca Labs® Formula, you’re forced to eat less while the
    unique ingredient β-Glucan®  fights your cravings for sweets and snacks,
    eliminating the need to count calories. You’ll feel satisfied with half the
    portion,  and you’ll feel even better once you start getting compliments
    from friends and family on your new, slimmer appearance.

    Instead of counting the calories you eat, let’s look at the calories you’ll
    automatically spare your body with Roca Labs® Formula. From day one,
    you will eat HALF the portions you are used to, and begin to burn more
    calories than you consume. This is known as a calorie deficiency state.
    For every 250 calories you save, you lose one ounce of fat. Many users
    eat as much as 2,000 fewer calories a day while using the Formula, which
    translates to 17 lbs. a month!

    With Roca Labs® Formula, you finally have the weapon you need to fight
    hunger, cravings and obesity. You’ll continue to eat the foods you love
    without any calorie count, but you’ll naturally eat smaller portions and
    still feel satisfied. The power to succeed is in your hands.



    Success is now limited by your MIND
                                                                                         FTC-PROD-006673


                                                                                                PX1-79
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3/23/2015
       Case                       Roca Labs® Gastric Bypass NO surgery® $480 | No Menus, No Diet Restrictions
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                                                                                      In compliance with FDA regulations, the
                                                           friends...                 site (or the procedure and the products)
                                                                                      are not intended to provide medical
                                                                                      advice, diagnosis or treatment and not
                                                                                      intended to diagnose, treat, cure, or
                                                                                      prevent any disease and have not been
                                                                                      evaluated or tested by the Food and Drug
                                                                                      Administration and none of the statements
                                                                                      should be viewed as such. Consult your
                                                                                      doctor before beginning any weight loss
                                                                                      program. Weight loss results may vary
                                                                                      depending upon individual characteristics
                                                                                      use. Before purchasing you should
                                                                                      review Instructions, Suggested
                                                                                      Use, Side Effects , Terms and
                                                                                      Conditions .
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     Important
    Gastric Bypass Surgery Cost
    Gastric Bypass Surgery Alternative
    Lap Band Surgery Alternative
    Gastric Sleeve Surgery Alternative
    Roux-en-Y Alternative
    Gastroplasty Alternative
    Bariatric Surgery Alternative
    Liposuction / Tummy Tuck Alternative




                                                                                                FTC-PROD-006674


                                                                                                            PX1-80
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                           Declaration of Amber Howe
                                 Attachment V


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                    March 23, 2015
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                                                                        PX1-81
3/23/2015
       Case      8:15-cv-02231-MSS-CPTRoca Labs® Gastric Bypass NO surgery® $480 | Privacy Policy
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        Gas t r i c  B y p as s  NO Su r g er y




        Terms & Conditions                  Privacy Policy           Return Policy
     


    Privacy Policy
    We are Committed to Protecting Your Privacy

    Protecting our customers’ privacy is an important priority at Roca Labs.
    Our privacy policy is designed to inform you about the information we
    collect, how we use it, and your options with regard to that collection and
    use.


    Our Policy is SIMPLE
    Just like doctor­patient confidentiality, Roca Labs does NOT share your
    information with any third party companies or advertisers in any way and
    Roca Labs’ sites do NOT have any third­party advertisers.

    The information collected is meant only to assist you to achieve your
    weight­loss goal and to maintain it.

    After you place an order, we may contact you to complete the order and
    we may follow up with you via text messages, email or by phone provided
    on your order. We will contact you as often as we see fit in order for you to
    achieve your weight loss result. You may request to stop such follow­up by
    contacting Roca Labs’ Customer Care.

    Normally, an email address is supplied but if you are willing to make the
    change above I will appeal to the editorial team to see if they will accept it.

    We trust our customers and often extends to them credit, however, if you
                                                  Leave a message
    fail to completely pay all that is due, we may send your information to a
    collection agency or to a law firm.

    Sites are secured.                                                                FTC-PROD-006698


                                                                                             PX1-82
http://old.rocalabs.com/privacy/                                                                        1/2
3/23/2015
       Case 8:15-cv-02231-MSS-CPTRoca Labs® Gastric Bypass NO surgery® $480 | Privacy Policy
                                       Document 210-2 Filed 04/26/18 Page 84 of 93 PageID 8178
    Although we work hard to protect personal information that we collect and
    store, no system is 100 percent secure and we cannot guarantee that our
    safeguards will prevent every unauthorized attempt to access, use or
    disclose personal information. Recognizing this reality, Roca Labs has
    incident response plans in place to handle incidents involving unauthorized
    access to personal information.

    If you become aware of a security issue, please contact Customer
    Care immediately.




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                                           A few highly recommended           *RESULTS MAY VARY
                                                                              In compliance with FDA regulations, the
                                           friends...                         site (or the procedure and the products)
                                                                              are not intended to provide medical
                                                                              advice, diagnosis or treatment and not
                                                                              intended to diagnose, treat, cure, or
                                                                              prevent any disease and have not been
                                                                              evaluated or tested by the Food and Drug
                                                                              Administration and none of the statements
                                                                              should be viewed as such. Consult your
                                                                              doctor before beginning any weight loss
                                                                              program. Weight loss results may vary
                                                                              depending upon individual characteristics
                                                                              use. Before purchasing you should
                                                                              review Instructions, Suggested
                                                                              Use, Side Effects , Terms and
                                                                              Conditions .
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     Important
    Gastric Bypass Surgery Cost
    Gastric Bypass Surgery Alternative
    Lap Band Surgery Alternative
    Gastric Sleeve Surgery Alternative
    Roux-en-Y Alternative
    Gastroplasty Alternative
    Bariatric Surgery Alternative
    Liposuction / Tummy Tuck Alternative




                                                                                        FTC-PROD-006699


                                                                                                    PX1-83
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                           Declaration of Amber Howe
                                 Attachment W


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              FTC-PROD-007262, FTC-PROD-007256 to FTC-PROD-007261




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                                                       Answers now               .   contact
                                                                                           ▼    


Ingredients
                                                                                                     All the Answers
The Roca Labs® mixture is composed of a quantitatively-strong, natural galactomannan
and glucomannans ingredients, which are highly effective substances. It is classified by            General questions                  ▾
the Food and Drug Administration as a food supplement, and therefore, does not                         What is Roca Labs® Procedure?

require a prescription. The Roca Labs® Formula contains a proprietary combination of                   How much weight will I lose?
healthy fibers, including: B-Glucan, Xanthan Gum, Guar Gum, Konjac and Inulin. The                     What is the success rate?
Formula contains 500% of B6, 800% of B12, 100% of Vitamin C, Vitamin B6, which helps
smooth skin, and Vitamin B12, which is essential for the brain and nervous system. The
                                                                                                       Side effects to Avoid           ◂
                                                                                                       Am I Qualified?
Formula also contains natural and artificial flavors. All active ingredients are 100%
natural and recognized as safe by the World Health Organization (WHO).                                 Ingredients

                                                                                                       What is Anti-Cravings®?

                                                                                                       Shrinking Stomach™

                                                                                                       Are there any menus or diet
                                                                                                    restrictions?

                                                                                                       Procedure Cost

                                                                                                    Medical questions                  ◂
                                                                                                    Overcoming Obesity                 ◂
                                                                                                    Compare                            ◂
                                                                                                    Terms & Conditions                 ◂
                                                 Am I Qualified?
                                                                                                     Support                          ◂
             01:27




                                                                                                           Qualify & Order




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Basic                                          Advanced                    Premium




                                                                                                                        PX1-85
https://rocalabs.com/faq/general/ingredients                                                                                           1/2
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                                                Answers now                        .   contact
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Ingredients
                                                                                                       All the Answers
The Roca Labs® mixture is composed of a quantitatively-strong, natural galactomannan
and glucomannans ingredients, which are highly effective substances. It is classified by              General questions                 ▾
                                                                                                                           ®
the Food and Drug Administration as a food supplement, and therefore, does not                           What is Roca Labs Procedure?
                                      ®
require a prescription. The Roca Labs Formula contains a proprietary combination of                      How much weight will I lose?
healthy fibers, including: B-Glucan, Xanthan Gum, Guar Gum, Konjac and Inulin. The                       What is the success rate?
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                                                                                                         Side effects to Avoid          ◂
                                                                                                         Am I Qualified?
Formula also contains natural and artificial flavors. All active ingredients are 100%
natural and recognized as safe by the World Health Organization (WHO).                                   Ingredients

                                                                                                         What is Anti-Cravings®?

                                                                                                         Shrinking Stomach™

                                                                           ×                             Are there any menus or diet
                                                                                                      restrictions?

                                                                                                         Procedure Cost

                                                                                                      Medical questions                 ◂
                                                                                                      Overcoming Obesity                ◂
                                                                                                      Compare                           ◂
                                                                                                      Terms & Conditions                ◂
                                                                                                       Support                         ◂
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Basic                                Advanced                              Premium

                                                                                                                      PX1-86
Basic                                                                      1 of 3
                                                                0       Like     7    Tweet   0
              Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 88 of 93 PageID 8182
                                                           Am I Qualified?
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site has not been evaluated nor, based on requirements, have the products been tested by the Food and Drug Administration. None none of the statements on this
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characteristics and use. Before purchasing you should review Roca Labs, Inc.’s
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                                                                                                                    ®
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                                            Support                                    Gastric Bypass NO surgery®                  What is it?
                                            Privacy                                    Gastric Bypass Results®                     Is it safe if I...?
                                                                                                            ®
                                            Qualify & Order                            Gastric Bypass Effect                       Am I qualified?
                                            Cost & insurance                           Natural Gastric Bypass®
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                                                Answers now                        .   contact
                                                                                             ▼    


Ingredients
                                                                                                       All the Answers
The Roca Labs® mixture is composed of a quantitatively-strong, natural galactomannan
and glucomannans ingredients, which are highly effective substances. It is classified by              General questions                 ▾
                                                                                                                           ®
the Food and Drug Administration as a food supplement, and therefore, does not                           What is Roca Labs Procedure?
                                      ®
require a prescription. The Roca Labs Formula contains a proprietary combination of                      How much weight will I lose?
healthy fibers, including: B-Glucan, Xanthan Gum, Guar Gum, Konjac and Inulin. The                       What is the success rate?
Formula contains 500% of B6, 800% of B12, 100% of Vitamin C, Vitamin B6, which helps
smooth skin, and Vitamin B12, which is essential for the brain and nervous system. The
                                                                                                         Side effects to Avoid          ◂
                                                                                                         Am I Qualified?
Formula also contains natural and artificial flavors. All active ingredients are 100%
natural and recognized as safe by the World Health Organization (WHO).                                   Ingredients

                                                                                                         What is Anti-Cravings®?

                                                                                                         Shrinking Stomach™

                                                                           ×                             Are there any menus or diet
                                                                                                      restrictions?

                                                                                                         Procedure Cost

                                                                                                      Medical questions                 ◂
                                                                                                      Overcoming Obesity                ◂
                                                                                                      Compare                           ◂
                                                                                                      Terms & Conditions                ◂
                                                                                                       Support                         ◂
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Basic                                Advanced                              Premium

                                                                                                                      PX1-88
Advanced                                                                   2 of 3
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                                                           Am I Qualified?
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                                            Support                                    Gastric Bypass NO surgery®                  What is it?
                                            Privacy                                    Gastric Bypass Results®                     Is it safe if I...?
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                                                Answers now                        .   contact
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Ingredients
                                                                                                       All the Answers
The Roca Labs® mixture is composed of a quantitatively-strong, natural galactomannan
and glucomannans ingredients, which are highly effective substances. It is classified by              General questions                 ▾
                                                                                                                           ®
the Food and Drug Administration as a food supplement, and therefore, does not                           What is Roca Labs Procedure?
                                      ®
require a prescription. The Roca Labs Formula contains a proprietary combination of                      How much weight will I lose?
healthy fibers, including: B-Glucan, Xanthan Gum, Guar Gum, Konjac and Inulin. The                       What is the success rate?
Formula contains 500% of B6, 800% of B12, 100% of Vitamin C, Vitamin B6, which helps
smooth skin, and Vitamin B12, which is essential for the brain and nervous system. The
                                                                                                         Side effects to Avoid          ◂
                                                                                                         Am I Qualified?
Formula also contains natural and artificial flavors. All active ingredients are 100%
natural and recognized as safe by the World Health Organization (WHO).                                   Ingredients

                                                                                                         What is Anti-Cravings®?

                                                                                                         Shrinking Stomach™

                                                                           ×                             Are there any menus or diet
                                                                                                      restrictions?

                                                                                                         Procedure Cost

                                                                                                      Medical questions                 ◂
                                                                                                      Overcoming Obesity                ◂
                                                                                                      Compare                           ◂
                                                                                                      Terms & Conditions                ◂
                                                                                                       Support                         ◂
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Basic                                Advanced                              Premium

                                                                                                                      PX1-90
Premium                                                                    3 of 3
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              Case 8:15-cv-02231-MSS-CPT Document 210-2 Filed 04/26/18 Page 92 of 93 PageID 8186
                                                           Am I Qualified?
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                                            Support                                    Gastric Bypass NO surgery®                  What is it?
                                            Privacy                                    Gastric Bypass Results®                     Is it safe if I...?
                                                                                                            ®
                                            Qualify & Order                            Gastric Bypass Effect                       Am I qualified?
                                            Cost & insurance                           Natural Gastric Bypass®
                                            Tel: 855.933.1010                          Speedy Gastric Bypass™
                                            Contact us




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                                               Support                                 Gastric Bypass NO surgery®                  What is it?
                                               Privacy                                 Gastric Bypass Results®                     Is it safe if I...?
                                               Qualify & Order                         Gastric Bypass Effect®                      Am I qualified?
                                               Cost & insurance                        Natural Gastric Bypass®
                                               Tel: 855.933.1010                       Speedy Gastric Bypass™
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